FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. 1Case   6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 1 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                                               1 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                        INDEX NO. E2018003491
NYSCEF DOC. NO. 1Case   6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 2 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                                                       192 Lexington Ave, Suite 802
                                                       New York, New York 10016
                                                       (212) 245-1020


          TO:
          CITY OF ROCHESTER
          CORPORATION COUNSEL
          30 Church Street
          Rochester, New York 14614

          POLICE OFFICER MATTHEW DRAKE, IBM # 1956,
          POLICE OFFICER STEVEN MITCHELL, IBM # 2134,
          POLICE OFFICER JEFFREY KESTER, IBM # 2230,
          POLICE OFFICER CHRISTOPHER J. BARBER, IBM # 1949,
          POLICE OFFICER DAVID E. KEPHART, IBM # 2074,
          INVESTIGATOR TOMESHA ANGELO, IBM # 1665,
          TECHNICIAN STEPHANIE MINTZ, IBM # 2496,
          SERGEANT DANIEL J. ZIMMERMAN, IBM # 295
          185 Exchange Blvd
          Rochester, New York 14614




                                                 -2-


                                               2 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. 1Case     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 3 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018




           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF MONROE
           ------------------------------------------------------------------X
           DAVID VANN,

                                                                   Plaintiffs,

                                       -against-                                  INDEX NO.:

           THE CITY OF ROCHESTER, a municipal entity,
           POLICE OFFICER MATTHEW DRAKE, IBM # 1956, VERIFIED COMPLAINT
           POLICE OFFICER STEVEN MITCHELL, IBM # 2134, [JURY TRIAL DEMANDED]
           POLICE OFFICER JEFFREY KESTER, IBM # 2230,
           POLICE OFFICER CHRISTOPHER J. BARBER, IBM
           # 1949, POLICE OFFICER DAVID E. KEPHART, IBM
           # 2074, INVESTIGATOR TOMESHA ANGELO, IBM
           # 1665, TECHNICIAN STEPHANIE MINTZ, IBM #
           2496, SERGEANT DANIEL J. ZIMMERMAN, IBM #
           295, Police Officers “JOHN DOES 1-6” (whose names
           are currently unknown, but who are described in the
           complaint and in pictures attached to the complaint as
           exhibits), Police Officers “JOHN DOES 7-12” (names
           and number of whom are unknown at present), and other
           unidentified members of the Rochester Police
           Department,

                                                             Defendants.
           -------------------------------------------------------------------X


                  Plaintiff DAVID VANN, by his attorneys, ROTH & ROTH, LLP, complaining of the

          defendants, respectfully allege as follows:

                                         I.       PRELIMINARY STATEMENT

                  1.       This is a civil rights action against the City of Rochester (“City”) based on and

          arising out of the wrongful acts and omissions of the Rochester Police Department (“Police

          Department” and “RPD”) and certain of the employees and agents of the RPD, and against

          named individual employees and agents of the RPD, in which the plaintiff seeks relief for the

          violation of his rights secured by the Civil Rights Acts of 1866 and 1871, 42 U.S.C. Sections

          1981, 1983 and 1985, of his rights secured by the Fourth, Fifth, Sixth, Ninth, Thirteenth and
                                                                -3-


                                                             3 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. 1Case   6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 4 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




          Fourteenth Amendments to the United States Constitution, and of his rights secured under the

          laws and Constitution of the State of New York.

                 2.      The Plaintiff, Mr. David Vann, seeks damages, both compensatory and punitive,

          and award of costs and attorneys’ fees, and such other and further relief as this court deems just

          and proper, for injuries resulting from an incident that occurred on September 4, 2015, wherein

          Mr. Vann was falsely arrested, placed in handcuffs, and then brutally beaten after he was

          handcuffed by defendant RPD officers JEFFREY KESTER, MATTHEW DRAKE, and

          STEVEN MITCHELL. Mr. Vann seeks additional recovery against KESTER, DRAKE,

          MITCHELL and the other defendant RPD officers for fabricating evidence against him, for

          coercing witnesses to sign false sworn statements, for suppressing and destroying evidence

          favorable to Mr. Vann, and for initiating and continuing his malicious prosecution based upon

          allegations in felony complaints and witness statements they knew were false. Mr. Vann also

          seeks recovery based on defendants’ false testimony at the grand jury and petit jury.

                 3.      As a result of the false arrest and defendants’ fabrication of evidence, Mr. Vann

          was held in solitary confinement for approximately one month, detained for over four months,

          and maliciously prosecuted for over 17 months. Eventually, Mr. Vann was acquitted on all

          charges on February 16, 2017, after a three-day jury trial. At trial, Mr. Vann did not even put on

          any proof, but instead his attorney simply cross examined KESTER, DRAKE and MITCHELL

          with security camera videos that defendants collected on the night of the incident, which showed

          the officers testimony was untrue and that Mr. Vann had not committed any crime.

                 4.      This lawsuit seeks to hold the defendant CITY OF ROCHESTER liable for the

          above misconduct under the federal civil rights statute, 42 U.S.C. § 1983, and Monell v. Dept. Of

          Social Services, 436 U.S. 658 (1978). The unlawful actions of police officers, investigators and



                                                         -4-


                                                      4 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. 1Case   6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 5 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




          technicians documented in this lawsuit resulted from affirmative or de facto municipal policies,

          practices and customs to violate the constitutional rights of arrestees, and from deliberate

          indifference by policy-making officials, acting on behalf of the City of Rochester to such

          violations. As Plaintiff will demonstrate, the RPD, as a matter of policy, deliberately fails to

          discipline officers who use excessive force, and instead instructs officers to fabricate evidence

          against arrestees to falsely charge them with crimes they did not commit, to suppress and destroy

          evidence favorable to arestees and criminal defendants, and to testify falsely in court to cover up

          their unlawful behavior. In the rare case where such misconduct has been exposed through video

          recordings and/or court proceedings, as in this case, the City and RPD have taken no disciplinary

          action against the offending employees, but instead praised and promoted them, thereby

          encouraging future constitutional violations to occur, including those directed against Mr. Vann.

                  5.     The principle individual policymaking official of the City who caused Plaintiff’s

          constitutional deprivations by the individual defendant RPD officers was former RPD Chief

          James Sheppard, who established an unlawful municipal policy of failing to discipline officers

          who use excessive force, even when the unlawfulness of the force used was clearly demonstrated

          by video evidence. Chief Sheppard directed and encouraged officers to fabricate evidence in the

          form of swearing to false written statements, coercing witnesses to sign false written statements,

          and to testify falsely in court proceedings in order to conceal the unlawfulness of their conduct.

          Current RPD Chief Michael Ciminelli has ratified and continued these unlawful municipal

          policies.

                  6.     The grounds for this action arise out of these wrongful, unlawful, and improper

          acts of these defendants, including, without limitation, false arrest, excessive force, creation and

          perpetuation of false evidence and conspiracy to create and perpetuate false evidence,



                                                         -5-


                                                      5 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. 1Case   6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 6 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




          suppression and concealment of exculpatory evidence and conspiracy to suppress and conceal

          exculpatory evidence, malicious prosecution, and denial of fair trial.

                                                   II. PARTIES
                 7.      Plaintiff DAVID VANN is a citizen of the United States and a resident of the

          County of Monroe, State of New York.

                 8.      Defendant CITY OF ROCHESTER (“CITY”) is a municipal entity created and

          authorized under the laws of the State of New York. It is authorized by law to maintain a police

          department, which acts as its agent in the area of law enforcement and for which it is ultimately

          responsible. Defendant CITY assumes the risks incidental to the maintenance of a police force

          and the employment of police officers as said risks attach to the public consumers of the services

          provided by the RPD.

                 9.      Defendants Rochester Police Department (“RPD”) POLICE OFFICER (“P.O.”)

          MATTHEW DRAKE (“DRAKE”) (IBM # 1956), P.O. STEVEN MITCHELL (“MITCHELL”)

          (IBM # 2134), P.O. JEFFREY KESTER (“KESTER”) (IBM # 2230), P.O. CHRISTOPHER J.

          BARBER (“BARBER)(IBM # 1949), P.O. DAVID E. KEPHART (“KEPHART”)(IBM # 2074),

          INVESTIGATOR TOMESHA ANGELO (“ANGELO”)(IBM # 1665), TECHNICIAN

          STEPHANIE MINTZ (“MINTZ”)(IBM # 2496), SERGEANT DANIEL J. ZIMMERMAN

          (“ZIMMERMAN”)(IBM # 295), JOHN DOES NOS. 1-6 (whose names are currently unknown,

          but who are described in the complaint below and in pictures attached as exhibits to the

          complaint) and JOHN DOES 7–12 (“John Does”, the names and number of whom are currently

          unknown) (collectively, “Defendant RPD Officers,” individually, “Defendant RPD Officer”), are

          and were at all times relevant herein, officers, employees and agents of the Defendant City and

          the RPD. The Defendant RPD Officers are being sued in their individual and official capacities.



                                                         -6-


                                                      6 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                             INDEX NO. E2018003491
NYSCEF DOC. NO. 1Case   6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 7 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                 10.    JOHN DOE NO. 1, whose actual name is unknown at this time, arrived at the

          scene according to the date and time stamp on the security camera videos defendants collected

          from the A&Z Market on the night of the incident at approximately “09-04-2015 11:42:48 PM.”1

          JOHN DOE NO. 1 is depicted in Exhibit “A.”

                 11.    Upon information and belief, John Doe No. 1 is in fact P.O. DAVID E.

          KEPHART.

                 12.    Upon information and belief, John Doe No. 1 is in fact P.O. CHRISTOPHER J.

          BARBER.

                 13.    Upon information and belief, John Doe No. 1 is in fact SERGEANT DANIEL J.

          ZIMMERMAN.

                 14.    JOHN DOE No. 2, whose actual name is unknown at this time, arrived at the

          scene in the same RPD vehicle as JOHN DOE No. 3, in which JOHN DOE No. 2 was in the

          front passenger’s seat and JOHN DOE No. 3 was the driver. According to the date and time

          stamp on the security camera videos defendants collected from the A&Z Market on the night of

          the incident, JOHN DOES NO. 2 and 3 arrived on the scene at approximately “09-04-2015

          11:43:00 PM.” JOHN DOE NO. 2 is depicted in Exhibit “B,” and JOHN DOE NO. 3 is depicted

          in Exhibit “C”.

                 15.    Upon information and belief, John Doe No. 2 is in fact P.O. CHRISTOPHER J.

          BARBER.

                 16.    Upon information and belief, John Doe No. 2 is in fact P.O. DAVID E.

          KEPHART.




          1
           In Mr. Vann’s criminal prosecution, defendants claimed the time stamp on the video is 13
          minutes fast.
                                                       -7-


                                                    7 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                              INDEX NO. E2018003491
NYSCEF DOC. NO. 1Case   6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 8 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                 17.    Upon information and belief, John Doe No. 2 is in fact SERGEANT DANIEL J.

          ZIMMERMAN.

                 18.    Upon information and belief, John Doe No. 3 is in fact P.O. DAVID E.

          KEPHART.

                 19.    Upon information and belief, John Doe No. 3 is in fact P.O. CHRISTOPHER J.

          BARBER.

                 20.    Upon information and belief, John Doe No. 3 is in fact SERGEANT DANIEL J.

          ZIMMERMAN.

                 21.    JOHN DOE # 4, whose actual name is unknown at this time, arrived at the scene

          according to the date and time stamp on the security camera videos defendants collected from the

          A&Z Market on the night of the incident at approximately “09-04-2015 11:42:59 PM.” JOHN

          DOE NO. 4 arrived alone in an RPD vehicle, and immediately attended to defendant KESTER,

          who was sitting on the ground. JOHN DOE NO. 4 is depicted in Exhibit “D.”

                 22.    Upon information and belief, John Doe No. 4 is in fact P.O. DAVID E.

          KEPHART.

                 23.    Upon information and belief, John Doe No. 4 is in fact P.O. CHRISTOPHER J.

          BARBER.

                 24.    Upon information and belief, John Doe No. 4 is in fact SERGEANT DANIEL J.

          ZIMMERMAN.

                 25.    JOHN DOE # 5, whose actual name is unknown at this time, arrived at the scene

          according to the date and time stamp on the security camera videos defendants collected from the

          A&Z Market on the night of the incident at approximately “09-04-2015 11:43:07 PM.” JOHN




                                                       -8-


                                                     8 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                              INDEX NO. E2018003491
NYSCEF DOC. NO. 1Case   6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 9 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




          DOE NO. 5 arrived alone in an RPD vehicle, and appeared to a supervisor because he began

          ordering other officers around. JOHN DOE NO. 5 is depicted in Exhibit “E.”

                 26.    Upon information and belief, John Doe No. 5 is in fact SERGEANT DANIEL J.

          ZIMMERMAN.

                 27.    Upon information and belief, John Doe No. 5 is in fact P.O. DAVID E.

          KEPHART.

                 28.    Upon information and belief, John Doe No. 5 is in fact P.O. CHRISTOPHER J.

          BARBER.

                 29.    JOHN DOE # 6, whose actual name is unknown at this time, arrived at the scene

          according to the date and time stamp on the security camera videos defendants collected from the

          A&Z Market on the night of the incident at approximately “09-04-2015 11:44:22 PM.” JOHN

          DOE NO. 6 is believed to have arrived alone in an RPD vehicle, and he immediately walked to

          the back of MITCHELL’s vehicle, where MITCHELL was holding plaintiff’s hands above his

          head behind his back, and JOHN DOE NOS. 2, 3 and 5 are standing around looking on. JOHN

          DOE NO. 6 is depicted in Exhibit “F.”

                 30.    Upon information and belief, John Doe No. 6 is in fact P.O. CHRISTOPHER J.

          BARBER.

                 31.    Upon information and belief, John Doe No. 6 is in fact SERGEANT DANIEL J.

          ZIMMERMAN.

                 32.    Upon information and belief, John Doe No. 6 is in fact P.O. DAVID E.

          KEPHART.

                 33.    At all times relevant herein, MITCHELL was the Defensive Tactic Instructor for

          the RPD, which involves training recruits in everything from handcuffing up through the



                                                       -9-


                                                     9 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                   INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 10 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




         escalation of force chart. At all times relevant herein, MITCHELL was also a Field Training

         Officer for the RPD, which involves hands-on training of new officers in the field after they

         graduate from the police academy. As both the Defensive Tactics Instructor and a Field Training

         Officer for the RPD, MITCHELL is a municipal policymaker with respect to the RPD’s use of

         force policies and training.

                34.     At all times relevant herein, the individual Defendant RPD Officers were acting

         under color of state law in the course and scope of their duties and functions as agents, servants,

         employees and officers of the Defendant CITY OF ROCHESTER, and otherwise performed and

         engaged in conduct incidental to the performance of their lawful functions in the course of their

         duties. They were acting for and on behalf of the RPD at all times relevant herein, with the

         power and authority vested in them as officers, agents and employees of the RPD and incidental

         to the lawful pursuit of their duties as officers, employees and agents of the RPD.

                35.     The individual Defendant RPD OFFICERS’ acts hereafter complained of were

         carried out intentionally, recklessly, with malice, and in gross disregard of plaintiff’s rights.

                36.     At all relevant times, the individual defendants were engaged in joint ventures,

         assisting each other in performing the various actions described herein and lending their physical

         presence in support and the authority of their offices to one another.

                37.     This action falls within one or more of the exceptions as set forth in CPLR

         Section 1602, involving intentional actions, as well as the defendant, and/or defendants, having

         acted in reckless disregard for the safety of others, as well as having performed intentional acts.

                38.     Plaintiff sustained damages in an amount in excess of the jurisdictional limits of

         all the lower Courts of the State of New York.




                                                         - 10 -


                                                      10 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 11 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                 39.    Plaintiff in furtherance of his causes of action brought pursuant to New York

         State law filed a timely Notice of Claim against the City, in compliance with the Municipal Law

         § 50.

                 40.    More than thirty (30) days have elapsed since service of said Notice of Claim was

         filed and the City has failed to pay or adjust the claim.

                 41.    This action is being brought within a year and 90 days of the event that gives rise

         to Plaintiff’s causes of action under New York State law.



                                       III. STATEMENT OF FACTS

                 A. Allegations Common to All Causes of Action

                 42.    On September 4, 2015, at approximately 11:00 p.m., the Plaintiff, Mr. David

         Vann, was lawfully present inside a convenience store known as A & Z Market, located at 439

         South Avenue, Rochester, Rochester, New York. (the “store”).

                 43.    On September 4, 2015, the store had four properly functioning video surveillance

         cameras.

                 44.    On September 4, 2015, at approximately 11:00 p.m., Mr. Vann handed the store’s

         owner, “Rafiq”, cash to purchase a an individual cigarette, a/k/a a “loosie”, which the store sold

         for $0.75.

                 45.    Rafiq shortchanged Mr. Vann by approximately $7.00.

                 46.    Mr. Vann requested the remainder of his change, but Rafiq refused.

                 47.    When Mr. Vann again requested his change, a store employee, “D.A.”, assaulted

         Mr. Vann and pushed him out of the store.

                 48.    Mr. Vann left the store and began walking home.


                                                         - 11 -


                                                      11 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 12 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                  49.      While Mr. Vann was walking home, D.A. exited the store and invited him to

         come back into the store to get his change.

                  50.      Mr. Vann accepted D.A.’s invitation to go back into the store because he hoped to

         get his change.

                  51.      Shortly thereafter, defendant RPD officer MATTHEW DRAKE arrived at the

         store.

                  52.      Mr. Vann complained to DRAKE that he was short changed by Rafiq, the owner.

                  53.      Mr. Vann complained to DRAKE that Rafiq refused to return his proper change.

                  54.      Mr. Vann complained to DRAKE that when he again requested his change, D.A.,

         physically assaulted him and pushed him out of the store.

                  55.      Mr. Vann explained to DRAKE that he began to walk home, but D.A. exited the

         store and invited him back into the store to get his change.

                  56.      Mr. Vann explained to DRAKE that he just wanted his change.

                  57.      DRAKE took no action to ascertain whether Mr. Vann was in fact owed any

         change.

                  58.      As Mr. Vann and D.A. were speaking with DRAKE inside of the store, defendant

         police officer STEVEN MITCHELL arrived at the store.

                  59.      When MITCHELL arrived, Mr. Vann was calmly speaking to DRAKE, D.A. was

         standing directly next to him, and they were not blocking the entrance to the store.

                  60.      Defendant JEFFREY KESTER arrived while DRAKE was speaking with Mr.

         Vann inside of the store and MITCHELL was speaking with D.A. on the sidewalk in front of the

         store.




                                                         - 12 -


                                                       12 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                              INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 13 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                61.     DRAKE told Mr. Vann to follow him out of the store, and Mr. Vann immediately

         complied and followed DRAKE as he walked out of the store.

                62.     As Mr. Vann was walking out the front door, MITCHELL detained him in the

         doorway and prevented him from walking out of the store onto the sidewalk.

                63.     MITCHELL detained Mr. Vann in the doorway and prevented him from exiting

         the store onto the sidewalk for approximately one and a half minutes.

                64.     Mr. Vann complained to MITCHELL, KESTER and DRAKE that he had been

         short changed by Rafiq, the owner.

                65.     Mr. Vann complained to MITCHELL, KESTER and DRAKE that when he

         requested his change, D.A. physically assaulted him and pushed him out of the store.

                66.     Mr. Vann explained that after D.A. assaulted him and pushed him out of the store,

         he began walking home, until D.A. invited him back into the store to get his change.

                67.     Mr. Vann explained to MITCHELL, KESTER and DRAKE that he frequents the

         store on a daily basis, that he usually makes purchases with his EBT card or debit card, and that

         the store had been regularly overcharging him for at least several weeks.

                68.     Notably, on the date of the incident, local, state and federal law enforcement

         authorities were wrapping up a yearlong joint investigation of the store for food stamp fraud,

         which culminated in its owner, Rafiq, being arrested on October 16, 2015—just over a month

         after this incident—and charged with Misuse of Food Stamps, a Class E Felony.

                69.     In light of the ongoing fraud investigation, MITCHELL, KESTER and DRAKE

         knew or should have known that the store had a long history of fraudulently charging and

         overcharging customers.




                                                       - 13 -


                                                    13 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 14 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                70.     In light of the ongoing fraud investigation, MITCHELL, KESTER and DRAKE

         knew or should have known Mr. Vann’s complaints against Rafiq and D.A. were wholly

         credible.

                71.     Instead, when Mr. Vann told MITCHELL that he just wanted the money he was

         owed, MITCHELL stated to Mr. Vann, “no one gives a fuck about your money.”

                72.     MITCHELL ordered Mr. Vann to exit the store onto the sidewalk or he would be

         arrested for trespassing.

                73.     Mr. Vann immediately complied with MITCHELL’s order and walked out of the

         store onto the sidewalk.

                74.     After Mr. Vann exited the store onto the sidewalk, he was immediately detained

         on the sidewalk by KESTER, MITCHELL, and DRAKE.

                75.     After Mr. Vann exited the store onto the sidewalk, KESTER made clear through

         his words and actions that Mr. Vann was not free to leave.

                76.     Mr. Vann was lawfully present on the sidewalk.

                77.     The sidewalk in front of A & Z Market is a public place.

                78.     At no time did Mr. Vann trespass inside of the store.

                79.     At no time did Mr. Vann trespass on the sidewalk in front of the store.

                80.     DRAKE, KESTER, and MITCHELL lacked reasonable or probable cause to

         believe Mr. Vann had committed or was committing any criminal act or violation.

                81.     DRAKE, KESTER, and MITCHELL did not observe Mr. Vann committing any

         criminal act or violation.

                82.     DRAKE, KESTER, and MITCHELL did not possess a warrant to search or arrest

         Mr. Vann.



                                                       - 14 -


                                                    14 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 15 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                 83.    DRAKE, KESTER, and MITCHELL had not been provided with any information

         that would suggest that Mr. Vann engaged in any criminal activity.

                 84.    DRAKE, KESTER, and MITCHELL had not been provided with any information

         that would suggest to a reasonable police officer that Mr. Vann had engaged in any criminal

         activity.

                 85.    D.A. admitted to DRAKE, KESTER and MITCHELL that he had assaulted Mr.

         Vann.

                 86.    The objective facts known to DRAKE, KESTER and MITCHELL did not provide

         them with reasonable or probable cause to believe Mr. Vann had committed any criminal act or

         violation.

                 87.    Nevertheless, DRAKE, KESTER, and MITCHELL arrested Mr. Vann.

                 88.    KESTER and MITCHELL placed handcuffs upon Mr. Vann’s wrists, without

         cause or legal justification, causing him pain to his wrists.

                 89.    Mr. Vann permitted MITCHELL and KESTER to place handcuffs on his wrists

         and did not resist arrest or resist the officers from securing the handcuffs in any way.

                 90.    After the handcuffs were secured upon his wrists behind his back, MITCHELL

         pulled Mr. Vann’s hands and wrists upwards towards his head, causing Mr. Vann substantial

         pain, without justification or lawful purpose.

                 91.    KESTER then grabbed the back of Mr. Vann’s neck, and dragged him head-first

         towards a metal bench on the sidewalk.

                 92.    While KESTER dragged Mr. Vann head first towards the metal bench,

         MITCHELL and DRAKE pushed him from behind.




                                                          - 15 -


                                                      15 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                            INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1         6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 16 of 131
                                                                          RECEIVED  NYSCEF: 05/16/2018




                93.        As a result of KESTER, MITCHELL and DRAKE’s actions, Mr. Vann’s head

         slammed into the metal bench, without justification or lawful purpose.

                94.        As a result of KESTER, MITCHELL and DRAKE slamming him head first into

         the metal bench, Mr. Vann suffered serious physical injuries.

                95.        As a result of his own actions, and the actions of MITCHELL and DRAKE,

         KESTER then fell onto the ground.

                96.        KESTER pulled Mr. Vann down on top of him when he fell.

                97.        MITCHELL also contributed to the fall by pushing Mr. Vann from behind as

         KESTER pulled him from the front.

                98.        DRAKE also contributed to the fall by pushing Mr. Vann and MITCHELL from

         behind as KESTER pulled Mr. Vann from the front.

                99.        Because MITCHELL was holding Mr. Vann by the handcuffs, KESTER also

         pulled MITCHELL down on top of him.

                100.       As a result of KESTER, MITCHELL and DRAKE’s actions, MITCHELL fell on

         top of Mr. Vann and Mr. Vann fell on top of KESTER, causing Mr. Vann to sustain serious

         physical injuries.

                101.       As a result of KESTER, MITCHELL and DRAKE’s actions, KESTER allegedly

         broke his leg.

                102.       Mr. Vann did not contribute in any way to the fall or to causing KESTER’s

         alleged injury.

                103.       In retaliation for KESTER being injured, MITCHELL proceeded to brutally beat

         Mr. Vann for approximately two minutes.




                                                       - 16 -


                                                    16 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                             INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1         6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 17 of 131
                                                                          RECEIVED  NYSCEF: 05/16/2018




                 104.      MITCHELL struck Mr. Vann in the head and/or body with a closed fist, without

         justification or lawful purpose.

                 105.      MITCHELL then searched Mr. Vann’s person, including inside of his pockets and

         along his waist band.

                 106.      As a result of his search, MITCHELL knew that Mr. Vann did not possess any

         guns, weapons, drugs or contraband.

                 107.      MITCHELL grabbed Mr. Vann by the wrists / handcuffs, dragged him to his feet,

         and walked him to his RPD vehicle.

                 108.      MITCHELL slammed Mr. Vann into the RPD vehicle, without justification or

         lawful purpose.

                 109.      MITCHELL then punched Mr. Vann in the face without justification or lawful

         purpose.

                 110.      Mr. Vann was handcuffed at the time MITCHELL punched him in the face.

                 111.      DRAKE failed to intervene to stop and / or prevent MITCHELL’s unjustified use

         of force against Mr. Vann, despite having been present and having had the time and a realistic

         opportunity to do so.

                 112.      Instead, DRAKE joined MITCHELL in using force against Mr. Vann without

         justification.

                 113.      DRAKE joined MITCHELL in using force against Mr. Vann in retaliation for

         KESTER’S injury.

                 114.      MITCHELL and DRAKE slammed Mr. Vann into the side of the RPD vehicle.

                 115.      MITCHELL and DRAKE then violently body-slammed Mr. Vann onto the

         sidewalk, without justification or lawful purpose.



                                                       - 17 -


                                                     17 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                           INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 18 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                116.    Mr. Vann was handcuffed and was not fighting with the officers or attempting to

         escape when MITCHELL and DRAKE body-slammed him onto the ground.

                117.    As a result of MITCHELL and DRAKE’s actions in body-slamming him onto the

         ground, Mr. Vann suffered serious physical injuries.

                118.    As a result of MITCHELL and DRAKE’s actions in body-slamming Mr. Vann

         onto the ground, DRAKE allegedly injured his shoulder.

                119.    In retaliation for DRAKE being injured, MITCHELL continued to brutally beat

         Mr. Vann.

                120.    MITCHELL punched Mr. Vann in the head and/or body, without justification or

         lawful purpose.

                121.    MITCHELL then grabbed Mr. Vann by the testicles and shirt, picked him up and

         slammed his body face-down on the sidewalk.

                122.    MITCHELL then punched Mr. Vann in the head and/or body.

                123.    Mr. Vann did not resist in any way.

                124.    Mr. Vann did not reach for his waistband or his pocket.

                125.    Then, while Mr. Vann was the face-down on the sidewalk, handcuffed and

         helpless, and not physically struggling in any way, MITCHELL sprayed Mr. Vann in the face

         with O.C. spray for approximately five seconds from a close distance of approximately 2-3

         inches, without justification or lawful purpose.

                126.    MITCHELL’s use of the O.C. spray violated RPD internal rules, which prohibit

         the use of O.C. spray for a distance of less than seven feet.

                127.    MITCHELL then sat on Mr. Vann’s back and held him face-down on the ground

         for approximately 30 seconds



                                                         - 18 -


                                                     18 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                            INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 19 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                128.    Thereafter, John Doe RPD Officer No. 1 approached the scene in his RPD

         vehicle.

                129.    As John Doe No. 1 approached, MITCHELL rolled Mr. Vann from a face-down

         to a face-up position and punched him in the head and/or torso.

                130.    John Does No. 2 and 3 then arrived at the scene in a marked RPD vehicle.

                131.    MITCHELL and John Does 1 and 2 picked up Mr. Vann and violently body-

         slammed him onto the sidewalk.

                132.    When MITCHELL and John Does No. 1 and 2 body-slammed Mr. Vann face-

         down on the sidewalk, John Doe No. 1 landed on Mr. Vann’s back with the full weight and force

         of his body, without justification or lawful purpose.

                133.    As a result of MITCHELL and John Does No. 1 and 2 body-slamming Mr. Vann

         face-down on the sidewalk, Mr. Vann sustained serious injuries.

                134.    John Doe No. 4 and John Doe No. 5 then arrived at the scene.

                135.    John Does 2 and 3 and MITCHELL held Mr. Vann on the ground while John Doe

         number 1 searched Mr. Vann’s person, including his pockets and waistband area.

                136.    As a result of the search, defendants did not find any guns, weapons, drugs or

         contraband.

                137.    At no time did Mr. Vann possess any guns, weapons, drugs or contraband.

                138.    MITCHELL and John Doe No. 3 then pulled Mr. Vann to his feet and dragged his

         limp body to an RPD vehicle and placed him against its side.

                139.    MITCHELL then grabbed Mr. Vann by the handcuffs and wrists, and violently

         pulled his arms above his head, hyperextending his shoulders, without justification or lawful

         purpose.



                                                        - 19 -


                                                     19 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                              INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1        6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 20 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018




                  140.     MITCHELL and John Doe No. 3 held Mr. Vann in this painful position, with his

         handcuffed wrists and arms extended over his head, hyperextending his shoulders, for at least 60

         seconds, without justification or lawful purpose.

                  141.     While MITCHELL and John Doe No. 3 held Mr. Vann in this painful position,

         JOHN DOE NO. 6 arrived at the scene and approached the back of the RPD vehicle where

         MITCHELL and JOHN DOE NO. 3 were holding Mr. Vann’s hands above his head.

                  142.     JOHN DOE NO. 2, JOHN DOE NO. 5, and JOHN DOE NO. 6. failed to

         intervene to stop and / or prevent MITCHELL and JOHN DOE NO. 3’s unjustified use of force

         against Mr. Vann in holding his hands above his head, painfully hyperextending his shoulders for

         over a minute, despite having been present and having had the time and a realistic opportunity to

         do so.

                  143.     Mr. Vann was eventually placed in the back of MITCHELL’S RPD vehicle,

         where he remained for a period of time before being transported by MITCHELL and KEPHART

         to the Monroe County Jail against his will.

                  144.     After Mr. Vann was placed in the RPD vehicle, he was obviously injured and

         required medical attention.

                  145.     After Mr. Vann was placed in the RPD vehicle, he was unable to communicate

         and was unconscious and/or incoherent as a result of the injuries he sustained by defendants’

         gross use of excessive force against him while he was handcuffed.

                  146.     Alternatively, Mr. Vann requested medical treatment.

                  147.     EMS arrived at the scene and evaluated Mr. Vann while he was in the back of the

         police vehicle.




                                                         - 20 -


                                                       20 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1        6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 21 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018




                 148.     EMS informed the defendant police officers that Mr. Vann needed to be

         transported to the hospital for medical treatment.

                 149.     Despite the obvious need for medical treatment, defendants refused to transport

         Mr. Vann to the hospital or to permit EMS to transport him to the hospital, and otherwise refused

         to provide him with adequate and necessary medical attention.

                 150.     Defendants’ denial of medical treatment to Mr. Vann exacerbated his injuries.

                 151.     Mr. Vann arrived at the Monroe County Jail, MITCHELL, KEPHART and other

         defendant officers removed him from the RPD vehicle, threw him on the ground, and punched

         and kicked him about his head and body numerous times.

                 152.     Mr. Vann was then brought inside of the Monroe County Jail and placed in a

         holding cell.

                 153.     MITCHELL, KEPHART and other police officers falsely informed Monroe

         County Jail staff that Mr. Vann had assaulted KESTER causing him to break his leg, and

         assaulted DRAKE causing him to separate his shoulder.

                 154.     MITCHELL, KEPHART and other police officers instructed the Monroe County

         Jail staff to deny Mr. Vann needed medical treatment in retaliation for KESTER and DRAKE’s

         injuries.

                 155.     Mr. Vann was denied needed medical treatment when he was detained at the

         Monroe County Jail.

                 156.     MITCHELL, KEPHART and other police officers instructed the Monroe County

         Jail staff to place Mr. Vann in solitary confinement in retaliation for KESTER and DRAKE’s

         injuries.




                                                        - 21 -


                                                     21 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 22 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                157.       As explained more fully in sections B-D, supra, after Mr. Vann’s arrest,

         KESTER, DRAKE and ANGELO fabricated allegations in felony complaints, which they

         forwarded to the Monroe County District Attorney’s Office to initiate the malicious prosecution

         of Mr. Vann.

                158.       On or about September 7, 2015, Mr. Vann was arraigned and charged with two

         counts of assault in the second degree, PL § 120.05(3), assault in the third degree, PL §

         120.00(2), resisting arrest, PL § 205.30, and trespass, PL § 140.10.

                159.       Mr. Vann was remanded to the custody of the Monroe County Jail.

                160.       Mr. Vann was placed in solitary confinement at the Monroe County Jail for

         approximately one month.

                161.       Mr. Vann informed Monroe County Jail staff that he had been diagnosed with

         serious medical conditions and that he needed to take the medications prescribed by his doctors.

                162.       Mr. Vann’s mother informed Monroe County Jail staff that he had been

         diagnosed with serious medical conditions and that he needed to take the medications prescribed

         by his doctors.

                163.       Monroe County Jail staff refused to provide Mr. Vann with the proper

         medications prescribed by his doctors.

                164.       Monroe County Jail staff refused to provide Mr. Vann the medications he was

         prescribed by his doctors because MITCHELL, KEPHART and other police officer defendants

         instructed them to retaliate against Mr. Vann because of KESTER and DRAKE’s injuries.

                165.       As a result of being denied his prescription medications, Mr. Vann’s serious

         medical conditions were exacerbated.




                                                        - 22 -


                                                     22 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 23 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                166.    As a result of the exacerbation of Mr. Vann’s serious medical conditions, after

         approximately one month, Mr. Vann was transferred to another facility, where he was detained

         against his will for approximately four months.

                167.    Thereafter, on or about February 3, 2016, Mr. Vann was transferred back to the

         custody of the Monroe County Jail.

                168.    On February 3, 2016, Mr. Vann posted bail and was released from custody.

                169.    When MITCHELL, KESTER and DRAKE arrested Mr. Vann, they did not

         possess objective facts that supported reasonable cause to believe he committed, was committing

         or was about to commit a crime or offense.

                170.    At no time did Mr. Vann trespass at the store.

                171.    At no time did Mr. Vann trespass on the sidewalk in front of the store.

                172.    At no time did Mr. Vann disobey any lawful orders issued by KESTER, DRAKE

         or MITCHELL.

                173.    At no time did Mr. Vann resist arrest.

                174.    At no time did Mr. Vann assault KESTER, DRAKE, D.A. or any other person.

                175.    At no time did defendants have reasonable or probable cause to believe Mr. Vann

         possessed a gun, weapon, drugs, or contraband.

                176.    At no time did defendants recover any guns, weapons, drugs, or contraband from

         Mr. Vann.

                177.    At no time did Mr. Vann commit any criminal act, nor did defendants have

         reasonable or probable cause to believe he committed any criminal act or to charge him with any

         crime or violation.

                178.    Defendants’ arrest of Mr. Vann violated clearly established law.



                                                        - 23 -


                                                      23 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1         6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 24 of 131
                                                                          RECEIVED  NYSCEF: 05/16/2018




                   179.    Any reasonable police officer would have known that defendants lacked

         reasonable or probable cause to arrest Mr. Vann.

                   180.    Nevertheless, ZIMMERMAN, as the supervising officer, reviewed the evidence

         and approved Mr. Vann’s arrest.

                   181.    Defendants also lacked a lawful reason or any justification to use any force

         against Mr. Vann.

                   182.    All the force used against Mr. Vann occurred after he was handcuffed.

                   183.    At no time did Mr. Vann pose a threat of physical harm to defendants or any other

         person.

                   184.    At no time did Mr. Vann threaten defendants or any other person through his

         words or actions.

                   185.    At no time did Mr. Vann resist arrest or attempt to escape defendants’ custody.

                   186.    Defendants’ use of force against Mr. Vann violated clearly established law.

                   187.    Defendants’ use of force against Mr. Vann violated the RPD’s internal written

         policies.

                   188.    Any reasonable officer would have known that defendants lacked any justification

         to use any force against Mr. Vann.

                   189.    Nevertheless, as explained more fully in sections B-D, supra, ZIMMERMAN, as

         the supervising officer, reviewed the evidence and failed to discipline KESTER, MITCHELL or

         DRAKE for their unlawful use of force against Mr. Vann.

                   190.    After Mr. Vann’s arrest, defendants immediately took measures to cover up the

         unlawful actions of KESTER, MITCHELL and DRAKE.




                                                          - 24 -


                                                       24 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 25 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                191.      ANGELO was the “case coordinator” and she spearheaded the cover up,

         including the decision not to collect, copy and preserve video evidence favorable to Mr. Vann;

         coercing witnesses to sign false statements; suppressing and concealing witnesses and evidence

         favorable to Mr. Vann; and coordinating MITCHELL, KESTER and DRAKE’s fabricated

         account of the reasons they arrested and used force against Mr. Vann.

                192.      ZIMMERMAN, as ANGELO’s supervising officer, reviewed and approved of all

         her decisions.

                B. Defendants’ Spoliation of Exculpatory Evidence

                193.      Defendant INVESTIGATOR ANGELO immediately responded to the scene and

         watched the video recordings from the store’s four security cameras.

                194.      ANGELO watched the security camera videos from when Mr. Vann first arrived

         at the store until after he was placed into an RPD vehicle and driven from the scene.

                195.      Thereafter, defendant TECHNICIAN MINTZ watched the video recordings from

         the store’s four security cameras from when Mr. Vann first arrived at the store until after he was

         placed into an RPD vehicle and driven from the scene.

                196.      Other defendants, including BARBER, ZIMMERMAN, and JOHN DOE NO. 5

         also watched the video recordings from the store’s four security cameras from when Mr. Vann

         first arrived at the store until after he was placed into an RPD vehicle and driven from the scene.

                197.      After watching the video, ANGELO, MINTZ, BARBER, ZIMMERMAN, JOHN

         DOE NO. 5 and the other defendants decided only to copy, collect and preserve the portion of

         the security camera video that is date and time stamped as “09-04-2015 11:35:00 PM” to “09-04-

         2015 11:44:59 PM”.




                                                        - 25 -


                                                     25 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 26 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                198.       ANGELO, MINTZ, BARBER, ZIMMERMAN, JOHN DOE NO. 5 and the other

         defendants decided not to copy, collect and preserve the portion of the video that depicted Mr.

         Vann first arriving at the store and his interactions with Rafiq, the store owner, and D.A., the

         shelving clerk.

                199.       The portion of the video that depicted Mr. Vann first arriving at the store and his

         interactions with Rafiq and D.A. was prior to date and time stamp “09-04-2015 11:35:00 PM.”

                200.       The portion of the video prior to date and time stamp “09-04-2015 11:35:00 PM”

         contradicted any complaints D.A. and Rafiq made to DRAKE, MITCHELL, KESTER,

         ANGELO and other defendants.

                201.       Once they watched the portion of the video prior to date and time stamp “09-04-

         2015 11:35:00 PM”, ANGELO, MINTZ, BARBER, ZIMMERMAN, JOHN DOE NO. 5 and the

         other defendants were not permitted to ignore the fact that it contradicted the D.A. and Rafiq’s

         complaints.

                202.       The portion of the video prior to date and time stamp “09-04-2015 11:35:00 PM”

         showed that Mr. Vann did not attempt to purchase beer.

                203.       The portion of the video prior to date and time stamp “09-04-2015 11:35:00 PM”

         showed that Mr. Vann had not committed any criminal act.

                204.       Alternatively, after viewing the video, ANGELO decided to copy, collect and

         preserve only the portion of the video that is date and time stamped as “09-04-2015 11:35:00

         PM” to 09-04-2015 11:44:59 PM,” and ordered MINTZ to copy, collect and preserve only that

         portion of the security camera video.

                205.       MINTZ acquiesced to ANGELO’s order despite knowing said order was

         unlawful.



                                                          - 26 -


                                                       26 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                              INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 27 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                206.    MINTZ failed to intervene and copy, collect and preserve the portion of the video

         prior to date and time stamp “09-04-2015 11:35:00 PM”, despite having had the time and

         opportunity to do so.

                207.    MINTZ failed to intervene and copy, collect and preserve the portion of the video

         prior to date and time stamp “09-04-2015 11:35:00 PM”, despite knowing that portion of the

         video was evidence favorable to Mr. Vann and was legally required to be preserved.

                208.    Any reasonable officer would have known that the portion of the video prior to

         date and time stamp “09-04-2015 11:35:00” was material and relevant to the charges for which

         Mr. Vann was arrested and, more importantly, to Mr. Vann’s defense against those charges.

                209.    Any reasonable officer would know that the portion of the video prior to date and

         time stamp “09-04-2015 11:35:00 PM” was favorable to Mr. Vann, constituted Brady/Vilardi

         material, and was required to be collected, copied and preserved, and handed over to the District

         Attorney’s Office.

                210.    Any reasonable police officer would have known they were required to copy,

         collect and preserve the portion of the video recording prior to the date and time stamp “09-04-

         2015 11:35:00 PM” pursuant to Arizona v. Youngblood, 488 U.S. 51, 56–58, (1988), the Due

         Process and Fair Trial Clauses of the United States and New York Station Constitutions, and

         other court precedent, statutes, and rules of the RPD.

                211.    ANGELO, MINTZ and other defendant RPD officers knew that the security

         camera video recordings of the incident prior to the date and time stamp “09-04-2015 11:35:00

         PM” constituted evidence favorable to Mr. Vann.

                212.    ZIMMERMAN was ANGELO’s supervisor and he oversaw her investigation of

         the incident and approved of all her decisions, including the decision not to copy, collect and



                                                        - 27 -


                                                     27 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                   INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1        6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 28 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018




         preserve the portion of the video recording prior to the date and time stamp “09-04-2015

         11:35:00 PM”.

                 213.     ANGELO, MINTZ and other defendant RPD officers failed to collect, copy and

         preserve the security camera video prior to time and date stamp “09-04-2015 11:35:00 PM”

         pursuant to the City and RPD’s policy, practice and custom of manufacturing false evidence and

         “testilying” at hearings, grand juries and petit juries.

                  C. Defendants’ coerced witnesses to sign false written statements

                 214.     Immediately after the incident, defendants detained numerous witnesses at the

         scene—including D.A., D.M., A.M. and others.

                 215.     Defendant John Doe No. 5 ordered John Doe No. 1, KEPHART, and other

         defendant police officers to detain the witnesses, including D.A., D.M., A.M. and others.

                 216.     Defendants forced each witness to produce his or her identification.

                 217.     Defendants used the identifications to conduct criminal background checks on

         each witness.

                 218.     D.M.’s criminal background check showed he was on parole because of a 2013

         felony conviction for attempted burglary in the third degree, and that he had an 8:00 p.m. curfew

         as a condition of his parole.

                 219.     The incident complained of herein occurred between approximately 11:00 p.m.

         and 12:00 a.m., so D.M. was violating his parole when he witnessed the incident.

                 220.     The criminal background check also revealed that D.M. was a predicate felon: he

         had one additional prior felony conviction in 2009 for burglary in the third degree, and one prior

         misdemeanor conviction in 2013 for petit larceny.




                                                          - 28 -


                                                       28 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 29 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                221.    MITCHELL, KEPHART, and JOHN DOE NO. 1 threatened that D.M. would be

         arrested for violating his parole unless he sign the false Supporting Deposition.

                222.    After conducting D.M.’s criminal background check, defendants, including

         MITCHELL, KEPHART, and JOHN DOE NO. 1, coerced D.M. to sign a false Supporting

         Deposition.

                223.    KEPHART drafted the statement that D.M. signed, which contained the following

         false statements:

                             a. The officers told Mr. Vann he was not welcome at the store and gave him
                                a chance to leave the location;

                             b. Mr. Vann “[got] in one of the officer’s faces, approximately 3-5 inches
                                from the officer.”

                             c. Mr. Vann stood in front of the store and refused officers’ orders to leave;

                             d. “[Mr. Vann] began to sway when the officers tried to place [him] in
                                handcuffs. The officers then took [Mr. Vann] to the ground. One of the
                                officers appeared to be injured once [Mr. Vann] was brought to the ground
                                he just laid there on his back while two other officers proceeded to
                                handcuff [Mr. Vann].”

                             e. “The two officers then leaned [Mr. Vann] up against a police car. The
                                male pushed backwards causing the skinny officer to take the male to the
                                ground.”

                             f. “The male repeatedly ignored commands by the police to stop resisting.
                                The police commanded him to do so multiple times.”

                224.    The security camera video of the incident contradicts the allegations in D.M.’s

         supporting deposition.

                225.    D.M. knew all the above statements were false when he signed the Supporting

         Deposition.

                226.     MITCHELL, KEPHART, JOHN DOE NO. 1 and other defendants knew the

         statements were false when D.M. signed the Supporting Deposition.

                                                        - 29 -


                                                     29 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 30 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                227.    D.M. did not voluntarily sign the Supporting Deposition.

                228.    MITCHELL, KEPHART, and JOHN DOE NO. 1 threatened to arrest D.M. for

         violating the conditions of his parole if he refused to sign the false Supporting Deposition.

                229.    Defendants also coerced D.A., a store employee, to sign a false supporting

         deposition.

                230.    On the date of the incident, D.A. had an open criminal case.

                231.    D.A.’s criminal history also included a prior felony conviction for attempted

         criminal possession of a weapon in the 2nd degree in 2008, and a DWI in 2012.

                232.    The officers used D.A.’s open criminal case and prior criminal history to coerce

         him to sign the false supporting deposition.

                233.    ANGELO drafted the statement that D.A. signed, which falsely stated,

                            a. Mr. Vann entered the store and attempted to purchase beer without an ID;

                            b. Mr. Vann refused to leave the store;

                            c. When the cops arrived, “[Mr. Vann] was standing just inside our front
                               door refusing to leave. The cops were real nice and tried to get him to
                               leave. [Mr. Vann] got in one officers [sic] face. The officer warned him
                               but he went after the officers again. The officers went to handcuff him and
                               he began to fight the officers. He was thrashing and refused to keep his
                               hands behind his back. The officers yelled over and over, ‘stop resisting!
                               Put your hands behind your back!’ The guy continued to fight. He was
                               fighting so bad he caused everyone to fall to the sidewalk. The guy fell on
                               one officer, hurting the officer’s ankle. Another officer got him
                               handcuffed and walked him to a cop car. He tried to search the guy but he
                               just wouldn’t stop fighting, even in handcuffs. Another cop arrived and
                               that made the guy fight and resist more. They fought so much they ended
                               back up on the sidewalk near the store. That’s when the second officer got
                               hurt.”

                            d. “Like 5 more officers showed up. They were all yelling commands to him
                               but he was still fighting. He was even fighting once he was in the back of
                               the car, that’s when they threatened to spray him.”




                                                        - 30 -


                                                     30 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 31 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                           e. “I’m so thankful the officers came. I do not feel they were inappropriate
                              whatsoever.”

                234.    The security camera video of the incident contradicts the allegations in D.A’s

         supporting deposition.

                235.    D.A. knew the statements were false when he signed the Supporting Deposition.

                236.    ANGELO and other defendants knew the statements were false when D.A.

         signed the Supporting Deposition.

                237.    D.A. did not voluntarily sign the Supporting Deposition.

                238.    Defendants did not obtain Supporting Depositions from numerous other

         eyewitnesses, including A.M.

                239.    Defendants ordered A.M. to produce identification and ran his criminal

         background check.

                240.    Unlike D.M. and A.D., A.M.’s criminal background check revealed he did not

         have a criminal background that defendants could leverage to coerce him to sign a false

         statement.

                241.    Thus, defendants did not collect a Supporting Deposition or witness statement

         from A.M.

                242.    Defendants failed to make any record that A.M. witnessed the incident, that they

         spoke with A.M. and ran his criminal background check, or the reasons they chose not take his

         witness statement or have him sign a supporting deposition.

                243.    It was a violation of clearly established law and the RPD’s internal rules and

         regulations for the Defendants to fail to make any record that A.M. witnessed the incident, that

         they spoke with A.M. about the incident, that they ran his criminal background check, and that

         they chose not take his witness statement or have him sign a supporting deposition.

                                                      - 31 -


                                                    31 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 32 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                 244.    The fact that A.M. witnessed the incident and the officers spoke with him and ran

         his criminal background check, but did not take his witness statement, constituted Brady/Vilardi

         material.

                 245.    Any reasonable officer would know that the fact that A.M. witnessed the incident

         and that defendants spoke with him and ran his criminal background check, but did not take his

         witness statement, constituted Brady/Vilardi material, and that they were required to make a

         record of their interaction with A.M. and produce said record to the District Attorney’s Office.

                 246.    Any reasonable police officer would have known that pursuant to Arizona v.

         Youngblood, 488 U.S. 51, 56–58, (1988), the Due Process and Fair Trial Clauses of the United

         States and New York Station Constitutions, and other court precedent, statutes, and rules of the

         RPD, they were required to make a record of the fact that A.M. witnessed the incident and that

         defendants spoke with him and ran his criminal background check, but did not take his witness

         statement.

                 247.    ZIMMERMAN was ANGELO’s supervisor and he oversaw her investigation of

         the incident and approved of all her decisions, including the fabrication of D.M. and D.A.’s

         Supporting Depositions, and their failure to make any record of the fact that A.M. witnessed the

         incident and that defendants spoke with him and ran his criminal background check, but did not

         take his witness statement.

                 248.    MITCHELL, KEPHART, JOHN DOE NO. 1, ANGELO, and other defendant

         RPD officers coerced D.A. and D.M. to sign false Supporting Depositions pursuant to the City

         and RPD’s policy, practice and custom of manufacturing false evidence and “testilying” to

         nullify constitutional deficiencies in their reasons for making arrests and using force against

         arrestees.



                                                       - 32 -


                                                    32 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 33 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                 D. Defendants’ Fabrication of Charging Documents and Incident Reports

                 249.    KESTER, MITCHELL and DRAKE conspired together and with other

         defendants, including ANGELO, to concoct a fabricated account of their interaction with Mr.

         Vann.

                 250.    KESTER, DRAKE and ANGELO formally initiated criminal proceedings against

         Mr. Vann by executing Felony Complaints under oath and causing them to be filed.

                 251.    ANGELO was the “case coordinator” and she drafted the Felony Complaints that

         were signed by KESTER and DRAKE.

                 252.    ANGELO did not have personal knowledge of the facts and circumstances

         surrounding Mr. Vann’s arrest, or of the allegations contained in the felony complaints she

         drafted on behalf of KESTER, DRAKE or herself.

                 253.    KESTER signed a felony complaint falsely accusing Mr. Vann of assaulting him

         and causing him to break his leg, and charging him with felony assault of a police officer under

         PL § 120.05(3).

                 254.    DRAKE signed a felony complaint that contained false allegations, accused Mr.

         Vann of assaulting him and causing him to separate his shoulder, and charging him with felony

         assault of a police officer under PL § 120.05(3).

                 255.    The felony complaints that DRAKE and KESTER signed and ANGELO drafted

         each contained the following false statements:

                                a. Mr. Vann “intentionally refuse[d] to put his hands behind
                                his back” when the officers arrested him;

                                b. Mr. Vann “twisted, turned, pulled away and thrashed
                                around in a violent manner causing the defendant and three
                                police officers to fall to the sidewalk”;




                                                       - 33 -


                                                     33 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 34 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                               c. Mr. Vann’s actions caused him to fall “on top of Officer
                               Jeffrey Kester, breaking his right fibula bone”;

                               d. Mr. Vann “continued to resist officers' lawful arrest by
                               continuing to twist and pull away”; and

                               e. Mr. Vann “forced the officers to bring him to the
                               sidewalk to get him under control,” causing DRAKE to
                               dislocate his right shoulder.

                256.    Each allegation in the above paragraph is false.

                257.    The security camera video of the incident contradicts the statements in KESTER

         and DRAKE’s felony complaints.

                258.    ANGELO knew the allegations in DRAKE and KESTER’s felony complaints

         were false when she drafted them.

                259.    DRAKE and KESTER knew the allegations in the felony complaints were false

         when they signed them.

                260.    The felony complaints signed by DRAKE and KESTER contain the following

         notice: “NOTICE: FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A

         CLASS A MISDEMEANOR PURSUANT TO SECTION 210.45 OF THE PENAL LAW

         OF THE STATE OF NEW YORK.”

                261.    Neither DRAKE nor KESTER was ever disciplined in any way for signing the

         false felony complaints.

                 262. ANGELO swore out a “felony complaint” that falsely alleged that Mr. Vann had

         assaulted D.A., the store clerk, and that he had committed trespass at the store, and charging Mr.

         Vann with misdemeanor assault in the third degree under PL § 120.00, and a trespass violation

         under PL § 140.10.




                                                       - 34 -


                                                    34 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                   INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 35 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                 263. In the complaint, ANGELO falsely stated that Mr. Vann: “refuse[d] to leave the

         A&Z South Market after being asked by the store employee … multiple times. The defendant

         then became combative forcing [D.A.] to physically remove the defendant by pushing him out

         the door.”

                264.    Prior to executing the complaint, ANGELO watched the entire surveillance

         camera recordings of the incident, including the portion of the video that depicted Mr. Vann’s

         interactions with D.A. and Rafiq.

                265.    The portion of the video that depicted Mr. Vann’s interactions with D.A. and

         Rafiq contradicted the allegations in ANGELO’s sworn complaint.

                266.    ANGELO failed to collect, copy and preserve the portion of the security camera

         video that depicted Mr. Vann’s interactions with D.A. and Rafiq, which contradicted the

         allegations in ANGELO’s sworn complaint.

                267.    Instead, ANGELO stated she had “personal knowledge” of the allegations

         contained in her complaint, which was untrue, because she was not present when the acts alleged

         in her complaint occurred.

                268.    Additionally, ANGELO stated the basis of her knowledge was her “investigation

         of this incident as well as the written depositions from [D.A.], and witness [D.M.].”

                269.    As explained in section “C”, infra, defendants coerced D.A. and D.M. to sign

         false supporting depositions.

                270.    ANGELO knew that the allegations in her sworn complaint were false.

                271.    The felony complaint ANGELO signed contains the following notice: “NOTICE:

         FALSE STATEMENTS MADE HEREIN ARE PUNISHABLE AS A CLASS A




                                                       - 35 -


                                                    35 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1         6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 36 of 131
                                                                          RECEIVED  NYSCEF: 05/16/2018




         MISDEMEANOR PURSUANT TO SECTION 210.45 OF THE PENAL LAW OF THE

         STATE OF NEW YORK.”

                272.       ANGELO was never disciplined in any way for swearing to the veracity of the

         false allegations in her complaint.

                273.       ZIMMERMAN was ANGELO’s supervisor and he oversaw her investigation of

         the incident and approved of all her decisions, including the fabrication of the charging

         paperwork.

                274.       MITCHELL drafted an incident report that contained a fabricated narrative of the

         defendants’ interaction with Mr. Vann, and falsely accused Mr. Vann of committing various

         criminal acts.

                275.       The false statements in MITCHELL’s incident report include, but are not limited

         to:

                              a. D.A., “an employee of the store … stated that [Mr. Vann] entered the store
                                 and wanted to buy beer” but that Mr. Vann “did not have identification” so
                                 D.A. refused to sell him beer;

                              b. D.A. “told [Mr. Vann] to leave the location several times, but [he]
                                 remained in the store for approximately 45 minutes;

                              c. Mr. Vann “told me that he did not have to leave the store and argued with
                                 me.”

                              d. That Mr. Vann “almost bumped into Officer Kester” when he exited the
                                 store to the sidewalk;

                              e. That Mr. Vann “did stop at the side walk,” and then “turn[ed] towards
                                 officers and [D.A.] and began to argue with [D.A.] again”;

                              f. That, “as I began to handcuff [Mr. Vann, he] refused to keep his right arm
                                 behind his back and pulled it away from officers. This action forced
                                 officers to bring [Mr. Vann] to the ground for stabilization, where [Mr.
                                 Vann] was handcuffed.”




                                                         - 36 -


                                                      36 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                              INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1         6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 37 of 131
                                                                          RECEIVED  NYSCEF: 05/16/2018




                              g. “As [Mr. Vann] was brought to my patrol vehicle, he immediately pulled
                                 away from me. [DRAKE] ran over to assist me in controlling [Mr. Vann].
                                 [Mr. Vann] was told multiple times to get on the ground and would not
                                 comply. [Mr. Vann] was thrashing and pulling his body away from
                                 officers. The actions of [Mr. Vann] once again forced [DRAKE] and I to
                                 bring [Mr. Vann] to the ground.”

                              h. Once on the ground, “[Mr. Vann] continued to roll around on the ground
                                 and reached with his hands in the area of his waistband … and I did fear
                                 that [Mr. Vann] had a weapon on his person.”

                   276.    Each allegation in the above paragraph is false.

                   277.    The security camera video of the incident contradicts the statements in

         MITCHELL’s incident report.

                   278.    DRAKE, KESTER and ANGELO’s Felony Complaints were filed and initiated

         the malicious prosecution of Mr. Vann for two counts of felony assault on a police officer, PL §

         120.05(3), one count of resisting arrest, PL § 205.30, one count of third degree assault, PL §

         120.00(2), and one count of trespassing, PL § 140.10.

                   279.    DRAKE, KESTER and ANGELO were never disciplined in any way for making

         the above false sworn written statements.

                   280.    MITCHELL was never disciplined for making the false statements in his incident

         report.

                   281.    MITCHELL, DRAKE, KESTER and ANGELO made the false allegations in

         their arrest and charging paperwork pursuant to the City and RPD’s policy, practice and custom

         of manufacturing false evidence and “testilying” to nullify constitutional deficiencies in their

         reasons for making arrests and using force against arrestees.

                   E. Defendants’ provided false grand jury testimony

                   282.    Mr. Vann was indicted by a Monroe County grand jury following a false,

         fraudulent, misleading and incomplete grand jury presentation.

                                                          - 37 -


                                                       37 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                              INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 38 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                283.    MITCHELL, KESTER and DRAKE offered affirmative evidence against Mr.

         Vann in the grand jury.

                284.    ANGELO completed the grand jury referral and coordinated the testimony of

         MITCHELL, KESTER and DRAKE, and all other affirmative evidence offered against Mr.

         Vann in the grand jury.

                285.    ZIMMERMAN reviewed ANGELO’s grand jury referral and approved it,

         including the coordination the testimony of MITCHELL, KESTER and DRAKE.

                286.    MITCHELL, KESTER and DRAKE testified falsely at the Grand Jury to secure

         the indictment of Mr. Vann on two counts of assaulting a police officer, PL § 120.05(3).2

                287.    MITCHELL falsely testified to the grand jury that,

                           a. Mr. Vann entered the store and attempted to purchase beer without an ID;

                           b. Mr. Vann became upset and refused to leave the store when they refused
                              to sell him beer because he did not have an ID on him;

                           c. When MITCHELL informed Mr. Vann he had to leave the store he
                              refused and stated “it’s a free county”;

                           d. After several minutes, “he finally started to walk out the door” but then he
                              “turned back around” and “be[gan] to walk back towards the store, and
                              balled – he actually balled his fists up as he turned towards the officers.
                              And he yelled out something, I can’t remember exactly what it was.”

                           e. While attempting to handcuff Mr. Vann, he pulled his right hand forward
                              to the front of his body, preventing them from securing the handcuff on his
                              right wrist;

                           f. The officers had to bring Mr. Vann to the ground to complete handcuffing
                              Mr. Vann;

                           g. The officers did not finish handcuffing Mr. Vann until he was on the
                              ground;



         2
          The trespass, misdemeanor assault, and resisting arrest charges appear to have been dismissed
         prior to the grand jury presentation.
                                                      - 38 -


                                                    38 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1        6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 39 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018




                              h.    MITCHELL was not able to search Mr. Vann where he was first brought
                                   to the ground;

                              i. After he was first brought to the ground, Mr. Vann “had been reaching for
                                 part of his waistband”;

                              j. MITCHELL brought Mr. Vann to the patrol vehicle to try and complete
                                 searching him, but “he bumped his chest off the patrol vehicle” causing
                                 MITCHELL to lose control of him;

                              k. Mr. Vann then stood in front of him “and kind of came at me”;

                              l. “[Mr. Vann] was told to get on the ground,” but he refused, so DRAKE
                                 and MITCHELL brought him to the ground again;

                              m. After Mr. Vann was brought to the ground the second time, Mr. Vann
                                 reached for the same spot on his rear waistband area one or two times,
                                 which was the same spot he’d reached for previously. At this time,
                                 MITCHELL still had not searched Mr. Vann;

                              n. MITCHELL pepper sprayed Mr. Vann because he refused to stop reaching
                                 for his waistband.

                  288.     MITCHELL’s testimony to the grand jury, as described in the above paragraph,

         was false.

                  289.     The security camera video of the incident contradicts MITCHELL’s testimony to

         the grand jury.

                  290.     DRAKE falsely testified to the grand jury that,

                              a. Defendants did not handcuff Mr. Vann until he was taken to the ground
                                 the first time;

                              b. Then, “as Officer Mitchell is taking the suspect to the vehicle, somehow
                                 there’s another altercation and the subject is not wearing two handcuffs, so
                                 I go back there to effect that arrest. Again, we have to re-handcuff the
                                 defendant.”

                  291.     DRAKE’s testimony to the grand jury, as described in the above paragraph, was

         false.




                                                          - 39 -


                                                       39 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1         6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 40 of 131
                                                                          RECEIVED  NYSCEF: 05/16/2018




                  292.     The security camera video of the incident contradicts DRAKE’s testimony to the

         grand jury.

                  293.     KESTER also testified falsely to the grand jury that Mr. Vann caused him to

         break his leg.

                  294.     KESTER’s testimony to the grand jury, as described in the above paragraph, was

         false.

                  295.     The grand jury was not informed that:

                              a. The RPD had collected security camera video from the store that
                                 contradicted the officers’ testimony;

                              b. That the RPD failed to collect, copy and preserve exculpatory evidence, to
                                 wit, the beginning of the store’s security camera videos that depicted the
                                 interaction between D.A. and Mr. Vann prior to defendants arriving at the
                                 store;

                              c. That a witness, D.M., had been coerced into signing a false supporting
                                 deposition by defendants, who threatened to arrest him for violating the
                                 terms of his parole if he refused to sign the false statement;

                              d. That defendants spoke to numerous other witnesses, including A.M., but
                                 failed to make any records of the fact that they spoke with the other
                                 witnesses or that they chose not to get witness statements from them;

                              e. That D.A.’s criminal charges and criminal history had also been used by
                                 defendants to coerce him to sign a false supporting deposition;

                              f. That the store was under investigation for food stamp fraud on the date of
                                 the incident;

                              g. That the store’s owner was arrested and charged with Misuse of Food
                                 Stamps, a Class E Felony, approximately one month after this incident.

                  296.     Based on the false sworn grand jury testimony of MITCHELL, DRAKE and

         KESTER, the grand jury returned a true bill and Mr. Vann was subjected to a prolonged pre-trial

         detention, was maliciously prosecuted for over 17 months, and was forced to endure a three-day

         trial on serious felony charges for crimes he did not commit.

                                                         - 40 -


                                                      40 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1        6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 41 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018




                  297.    MITCHELL, DRAKE and KESTER testified falsely before the grand jury

         pursuant to the City and RPD’s policy, practice and custom of manufacturing false evidence and

         “testilying” to nullify constitutional deficiencies in their reasons for making arrests and using

         force against arrestees.

                  F. Defendants’ false petit jury testimony

                  298.    KESTER, DRAKE and MITCHELL testified falsely at Mr. Vann’s criminal trial.

                  299.    At trial, defendants knew they would be cross examined with the security camera

         video.

                  300.    KESTER, DRAKE and MITCHELL’s trial testimony was inconsistent with their

         grand jury testimony and with their initial written statements regarding the incident.

                  301.    KESTER falsely testified that:

                             a. When he arrived on the scene, Mr. Vann was actively arguing with Rafiq
                                and/or D.A.;

                             b. Mr. Vann was pacing back and forth and ignoring the officers;

                             c. Mr. Vann actively resisted arrest, by, for example, attempting to bring his
                                hands to the front of his body to avoid being rear handcuffed;

                             d. As KESTER and MITCHELL were handcuffing Mr. Vann, KESTER told
                                Mr. Vann to relax, but instead he tensed up even more and “ball[ed] his
                                first up and [brought] his arm closer into his body”;

                             e. KESTER and MITCHELL were unable to secure handcuffs upon Mr.
                                Vann’s wrists while they were standing;

                             f. KESTER stated to MITCHELL and DRAKE that they had to bring Mr.
                                Vann to the ground in order to secure the handcuffs on his wrists;

                             g. The handcuffs were not secured upon Mr. Vann’s wrists until the officers
                                brought him to the ground.

                  302.    All of KESTER’s testimony to the petit jury, as described in the above paragraph,

         was false.

                                                           - 41 -


                                                     41 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                             INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 42 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                303.    KESTER’s testimony to the petit jury was contradicted by the security camera

         video of the incident.

                304.    MITCHELL falsely testified that:

                            a. He told Mr. Vann to leave the store multiple times, but Mr. Vann refused;

                            b. In response to him telling Mr. Vann that he needed to leave the store, Mr.
                               Vann replied, “it’s a free country” and that he did not have to leave the
                               store;

                            c. He and KESTER were unable to handcuff Mr. Vann’s right hand because
                               Mr. Vann was “trying to move his arm forward.”

                            d. That he did not secure the handcuff on Mr. Vann’s right hand until after
                               they brought him to the ground;

                            e. After they brought Mr. Vann to the ground, he was unable to search him
                               because Mr. Vann “reached for the back right side of his pants pocket or
                               pants waistband.”

                            f. He feared that Mr. Vann had a weapon in his back right pocket or
                               waistband;

                            g. After he brought Mr. Vann to the car, Mr. Vann “kind of bumped off the
                               car [and] he pulled away from me. I told him to get on the ground several
                               times, and he did not.”

                            h. When Mr. Vann refused to go to the ground, MITCHELL used a
                               “distractionary [sic] technique” that “was a jab with my right hand”;

                            i. MITCHELL pepper sprayed Mr. Vann from a distance of one to two feet;

                            j. After MITCHELL pepper sprayed Mr. Vann, he again reached for his
                               right waistband area, which MITCHELL had not yet searched.

                305.    MITCHELL’s testimony to the petit jury, as described in the above paragraph,

         was false.

                306.    MITCHELL’s testimony to the petit jury was contradicted by the security camera

         video of the incident.

                307.    DRAKE falsely testified that:

                                                        - 42 -


                                                   42 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1        6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 43 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018




                             a. After Mr. Vann walked out of the store onto the sidewalk, he chose not to
                                disperse from the area;

                             b. Mr. Vann actively resisted arrest;

                             c. Mr. Vann resisted being handcuffed by moving / turning his body;

                             d. Before DRAKE and MITCHELL took Mr. Vann to the ground the second
                                time, MITCHELL told him Mr. Vann slipped out of one of his cuffs and
                                was reaching for his waistband;

                             e. DRAKE and MITCHELL took Mr. Vann to the ground the second time in
                                an attempt to re-handcuff him.

                  308.    DRAKE’s testimony to the petit jury, as described in the above paragraph, was

         false.

                  309.    DRAKE’s testimony to the petit jury was contradicted by the security camera

         video of the incident.

                  310.    At trial, Mr. Vann did not put on any proof, but instead his attorney simply cross-

         examined KESTER, DRAKE and MITCHELL with the security camera video of the incident,

         which the RPD collected on the night of the incident, and rested after the People put on their case

         in chief.

                  311.    KESTER, MITCHELL and DRAKE testified that the security camera video was a

         fair and accurate depiction of the incident.

                  312.    The jury deliberated for less than three hours, during which time they asked to see

         multiple playbacks of the video.

                  313.    The jury’s last request was to see the video paused on the second for six seconds

         as Mr. Vann was being handcuffed, (11:40:27-32), immediately before KESTER grabbed his

         neck and pulled him face-first into the bench then to the ground. (screenshots of the video at




                                                          - 43 -


                                                        43 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                   INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1        6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 44 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018




         11:40:27-32 annexed hereto as Exhibit “G”). Eight minutes later, the jury informed the Court

         they had reached a verdict: Mr. Vann was found not guilty on all charges.

                 314.     On February 16, 2017, after a three-day trial, and after being maliciously

         prosecuted for one year, five months and twelve days, Mr. Vann was acquitted by the jury on all

         charges.

                 315.     Nevertheless, Mr. Vann continues to suffer severe physical, emotional and

         psychological damages to this day, and will continue to suffer said damages for the rest of his

         life.

                 316.     MITCHELL, DRAKE and KESTER were never disciplined for testifying falsely

         in front of the petit jury.

                 317.     MITCHELL, DRAKE and KESTER testified falsely before the petit jury pursuant

         to the City and RPD’s policy, practice and custom of manufacturing false evidence and

         “testilying” to nullify constitutional deficiencies in their reasons for making arrests and using

         force against arrestees.

                          G. Facts pertinent to municipal liability claims

                 318.     MITCHELL is the Defensive Tactic Instructor for the RPD, which involves

         training recruits in everything from handcuffing up through the escalation of force chart.

                 319.     MITCHELL is also a Field Training Officer for the RPD, which involves hands-

         on training of new officers in the field after they graduate from the police academy.

                 320.     As both the Defensive Tactics Instructor and a Field Training Officer for the

         RPD, MITCHELL is a municipal policymaker with respect to the RPD’s use of force policies

         and training.




                                                        - 44 -


                                                     44 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 45 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                321.    MITCHELL’s use of force against Mr. Vann while he was handcuffed, helpless,

         and not fighting, resisting or struggling with the officers in any way, was both grossly excessive

         under clearly established law and criminal.

                322.    Following this incident, MITCHELL was not disciplined in any way.

                323.    The City and RPD should have disciplined MITCHELL because the video

         evidence clearly demonstrated his use of force against Mr. Vann was grossly excessive and

         criminal.

                324.    Further, the City and RPD should have disciplined MITCHELL because his

         statements and testimony that he and KESTER could not secure handcuffs upon Mr. Vann’s

         wrists was incredible and unbelievable.

                325.    As Defensive Tactics Instructor and Field Training Officer, MITCHELL is an

         expert in effectuating arrests.

                326.    As Defensive Tactics Instructor and Field Training Officer, MITCHELL is an

         expert in handcuffing suspects.

                327.    As Defensive Tactics Instructor and Field Training Officer, MITCHELL is an

         expert in only using force against arrestees when necessary.

                328.    As Defensive Tactics Instructor and Field Training Officer, MITCHELL is an

         expert in the legal limits on the amount of force that a police officer may use against an arrestee.

                329.    At the time of the incident, Mr. Vann weighed approximately 160 pounds.

                330.    At the time of the incident MITCHELL weighed at least 175 pounds, or

         approximately fifteen pounds more than Mr. Vann.

                331.    At the time of the incident, KESTER weighed at least 220 pounds, or at least 60

         pounds more than Mr. Vann.



                                                         - 45 -


                                                       45 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 46 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                332.    Following this incident, MITCHELL continued to be employed as Defensive

         Tactic Instructor and Field Training Officer for the RPD.

                333.    As a Defensive Tactic Instructor and Field Training Officer for the RPD,

         MITCHELL leads by example and teaches recruits and new officers how to make arrests, secure

         handcuffs onto an arrestee’s wrists, and when it is appropriate to use force against arrestees and

         how much force may be used in different situations.

                334.    MITCHELL also teaches recruits and new officers how to complete their

         paperwork to document the reasons for making an arrest and using force against an arrestee.

                335.    By failing to discipline MITCHELL and instead continuing to employ him as

         Defensive Tactic Instructor, the City and the RPD ratified his conduct as a municipal policy,

         practice or custom.

                336.    Specifically, by failing to discipline MITCHELL and instead continuing to

         employ him as Defensive Tactic Instructor and Field Training Officer, the City and the RPD

         ratified the following conduct as permissible by RPD officers:

                    a. Body-slamming a handcuffed, compliant, non-resisting arrestee onto the ground;

                    b. Repeatedly punching a handcuffed, compliant, non-resisting arrestee when said
                       arrestee is subdued on the ground, and does not pose a threat of physical harm to
                       the officer or others;

                    c. Pepper spraying a handcuffed, compliant, non-resisting arrestee when said
                       arrestee is subdued on the ground;

                    d. Pepper spraying a handcuffed, compliant, non-resisting arrestee directly in the
                       face from less than six inches;

                    e. Fabricating the officers’ accounts of their interaction with said arrestee in official
                       RPD paperwork such as investigatory reports;

                    f. Falsely swearing to the veracity of charging documents that falsely accuse
                       arrestees of committing criminal acts, and forwarding said documents to
                       prosecutors to initiate the malicious prosecution of said arrestees;

                                                       - 46 -


                                                    46 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 47 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                     g. Testifying falsely at grand jury proceedings;

                     h. Testifying falsely at petit jury proceedings; and

                     i. Signing false statements and testifying falsely despite knowing that objective
                        video evidence contradicts said false statements and testimony.

                 337.    The City and the RPD also failed to discipline KESTER or DRAKE for their false

         arrest or use of excessive force against Mr. Vann; for signing false felony complaints; or for

         testifying falsely in front of the grand jury and petit jury.

                 338.    By failing to discipline DRAKE and KESTER, the City and the RPD ratified their

         conduct as a municipal policy, practice or custom.

                 339.    The Defendant CITY and the RPD failed to conduct any investigation into the

         MITCHELL, DRAKE and KESTER’s use of force and/or failure to intervene to stop and or

         prevent the unlawful use of force against Mr. Vann, to determine if their conduct was unlawful,

         excessive or in violation of RPD policies.

                 340.    The defendant CITY and the RPD knew or should have known that they needed

         to investigate the MITCHELL, DRAKE and KESTER’s use of force and/or failure to intervene

         to stop and or prevent the unlawful use of force against Mr. Vann on September 4, 2015, because

         KESTER, MITCHELL and DRAKE all admit to using force against Mr. Vann; because Mr.

         Vann was acquitted by the jury; and because the security camera video recovered from the store

         on the night of the incident clearly demonstrates that the officers fabricated their account of their

         interaction with Mr. Vann in their arrest and charging paperwork, and testified falsely at the

         grand jury and petit jury.




                                                          - 47 -


                                                       47 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 48 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                341.    For these same reasons, the defendant CITY and RPD knew or should have

         known that they also needed to investigate ANGELO and MINTZ for failing to copy, collect and

         preserve the portion of the video that depicted Mr. Vann’s interactions with D.A. and Rafiq.

                342.    For these same reasons, the defendant CITY and RPD knew or should have

         known that they also needed to investigate ANGELO, KEPHART, John Doe No. 5 and John Doe

         No. 1 and other defendant officers for their role in detaining witnesses, forcing them to produce

         identification so they could run criminal background checks, and coercing D.A. and D.M. to sign

         false supporting depositions.

                343.    For these same reasons, the CITY and the RPD knew or should have known that

         they also needed to investigate ANGELO for her role in signing a false “felony” complaint, and

         for drafting the felony complaints that were signed by KESTER and DRAKE, which also

         contained false allegations against Mr. Vann.

                344.    The failure of the City and RPD to investigate or discipline the defendant officers

         in this incident is part of a longstanding, entrenched policy, pattern and custom of deliberate

         indifference to RPD officers’ use of excessive force.

                345.    The failure of the City and RPD to investigate or discipline the defendant officers

         in this incident is part of a longstanding, entrenched policy, pattern and custom of deliberate

         indifference to RPD officers’ lying about the circumstances that led to the arrest and use of force

         against an arrestee in official police paperwork, charging documents, and court testimony.

                346.    The City’s policy and custom of failing to discipline officers who make false

         arrests, use excessive force and lie about the reasons for making arrests and using force caused

         Mr. Vann’s constitutional rights to be violated as alleged herein.




                                                         - 48 -


                                                     48 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 49 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                347.    For example, on May 24, 2015, KESTER falsely arrested and used excessive

         force against Septimus Scott, and then lied about the circumstances that led to his arrest and use

         of force against Mr. Scott in official police paperwork.

                348.    In the incident with Mr. Scott, KESTER arrived at the scene of a vehicle stop

         where Police Officer Destiny Deterville was attempting to conduct a sobriety test on Mr. Scott.

                349.    After Mr. Scott had passed the walk and turn, stand on one leg, and horizontal

         nystagmus tests, she attempted to administer a breathalyzer test, even though she did not know

         how to use the machine.

                350.    Deterville stated, “the machine is not working.”

                351.    While Deterville was struggling with the breathalyzer machine, KESTER

         approached and screamed at Mr. Scott to “blow in the fucking machine.”

                352.    Mr. Scott told KESTER that he had complied with all of Deterville’s instructions,

         that he was crying because he was having a panic attack, and that he was an Army Veteran and

         had been diagnosed with PTSD.

                353.    KESTER told Mr. Scott to “shut up,” then grabbed his head and slammed his face

         into the side of an RPD vehicle, slammed his body onto the ground, and punched him in the back

         of the head and torso multiple times, without any reasonable justification or lawful purpose for

         the amount of force used.

                354.    KESTER then pepper sprayed Mr. Scott in the eyes and mouth from within one to

         two inches, without justification or lawful purpose.

                355.    KESTER fabricated his reasons for arresting and using force against Mr. Scott in

         official RPD paperwork to initiate a criminal prosecution against Mr. Scott for crimes KESTER

         knew he did not commit.



                                                        - 49 -


                                                     49 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 50 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                356.    All the false charges brought against Mr. Scott by KESTER and other RPD

         officers were eventually dismissed.

                357.    Nevertheless, the City and the RPD never investigated the incident or disciplined

         KESTER for his false arrest and use of excessive force against Mr. Scott, or for his fabrication of

         evidence to initiate the prosecution of Mr. Scott for crimes KESTER knew he did not commit.

                358.    The incident with Mr. Scott occurred less than four months prior to the incident

         complained of herein with Mr. Vann.

                359.    Just like the incident with Mr. Scott, in this incident KESTER similarly arrived

         late to the scene of an incident and immediately escalated the situation as he was the first officer

         to use force against Mr. Vann. Additionally, like the incident with Mr. Scott, KESTER lied about

         the reasons for arresting and using force against Mr. Vann in official police paperwork and

         charging documents to cover up his unlawful actions.

                360.    The City and the RPD lack any system for conducting an independent review of

         officers’ conduct, even in cases like this one, where there is overwhelming evidence from court

         proceedings and video of the incident that indicates RPD officers falsely arrested and used

         excessive force against an arrestee, and then lied in their paperwork and in court testimony.

         Moreover, in cases like this one where an arrestee is charged with resisting arrest and assaulting

         multiple police officers, but all charges are eventually dismissed, the City and the RPD should

         have a system to automatically investigate the circumstances of the arrest and use of force

         because the fact that the charges were dismissed strongly suggests that officers falsely charged

         the arrestee with crimes they did not commit in order to cover up their unlawful use of force

         against the arrestee.




                                                        - 50 -


                                                     50 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 51 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                 361.    Because of the foregoing, Mr. Vann sustained, inter alia, physical pain,

         permanent physical injuries, mental injuries, emotional distress, embarrassment, humiliation, lost

         income, loss of liberty, and deprivation of his common law and constitutional rights.

                 362.    Because of the foregoing, Mr. Vann demands judgment against Defendants in an

         amount of money to be determined at trial, and injunctive relief as further detailed below.

                                   FIRST CLAIM FOR RELIEF
               VIOLATION OF FOURTH AMENDMENT RIGHTS UNDER 42 U.S.C. § 1983
               ARISING FROM WARRANTLESS ARREST WITHOUT PROBABLE CAUSE
                           (Against KESTER, DRAKE and MITCHELL)

                 363.    Plaintiff Mr. Vann re-alleges each and every allegation contained in the above

         paragraphs with the same force and effect as if fully set forth herein.

                 364.    KESTER, DRAKE and MITCHELL detained, handcuffed and arrested Mr. Vann.

                 365.    This arrest was made in the absence of a warrant for the arrest.

                 366.    This arrest was made in the absence of probable cause for this arrest.

                 367.    The Defendant Police Officers arrested Plaintiff Mr. Vann without having exigent

         circumstances for doing so.

                 368.    There was no other authority for the arrest of Plaintiff Mr. Vann.

                 369.    The Plaintiff Mr. Vann was conscious of this arrest.

                 370.    The Plaintiff Mr. Vann did not consent to this arrest.

                 371.    As a result, Plaintiff Mr. Vann was damaged, harmed and injured, and seeks

         compensation in an amount to be determined at trial.

                 372.    As a result of Defendants’ impermissible conduct, Plaintiff was injured and

         harmed. Accordingly, Plaintiff demands judgment against Defendants in a sum of money which

         exceeds the jurisdictional limits of all courts of lesser jurisdiction.




                                                            - 51 -


                                                        51 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                     INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 52 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                                   SECOND CLAIM FOR RELIEF
                          MALICIOUS PROSECUTION UNDER 42 U.S.C. § 1983
                 (Against KESTER, DRAKE, MITCHELL, KEPHART, MINTZ, ANGELO,
                         ZIMMERMAN JOHN DOE NO. 1 and JOHN DOE NO. 5)

                 373.    Plaintiff Mr. Vann re-alleges each and every allegation contained in the above

         paragraphs with the same force and effect as if fully set forth herein.

                 374.    The Defendant Police Officers, despite knowing that probable cause did not exist to arrest

         and prosecute Mr. Vann for trespass, for assaulting D.A., resisting arrest, or for assaulting KESTER or

         DRAKE, acting individually and in concert, fabricated and falsified evidence, which they then forwarded

         to prosecutors, to cause Mr. Vann to be wrongfully charged with and prosecuted for those crimes.

                 375.    The Defendant Police Officers lacked probable cause to initiate the prosecution of

         Mr. Vann and the prosecution of Mr. Vann was procured by fraud, perjury, and the fabrication and

         suppression of evidence.

                 376.    False and fabricated evidence was given by Defendant Police Officers to the District

         Attorney’s Office and the Grand Jury.

                 377.    The Defendant City and the RPD knew or were deliberately and recklessly

         indifferent to the truth that probable cause did not exist to arrest and prosecute Mr. Vann for

         trespass, resisting arrest, assaulting D.A. or assaulting KESTER or DRAKE, including but not limited to

         knowledge of the fact that the charging paperwork of the Defendant Police Officers contained

         fabricated and falsified accounts of their reasons for arresting Mr. Vann, that the charging

         paperwork incorporated the false witness statements procured by ANGELO, KEPHART, JOHN

         DOE NO. 1 and JOHN DOE NO. 5; and that ANGELO and MINTZ failed to copy, collect and

         preserve the portion of the security camera video that contradicted D.A. and Rafiq’s complaints

         about Mr. Vann.




                                                          - 52 -


                                                       52 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 53 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                378.    Despite knowing that probable cause did not exist to arrest and prosecute Mr. Vann,

         and despite the fact that the grand jury's probable cause determination was vitiated by the Defendant

         Police Officers’ fabrication and falsification of evidence, the Defendants acted individually and in

         concert to initiate and continue the prosecution of Mr. Vann for those crimes.

                379.    Notwithstanding the fact that the Defendant Police Officers knew that they lacked

         objective facts to support reasonable or propable cause that Mr. Vann had committed any crime at

         the time of his arrest, and that they could not lawfully arrest him for any crime or offense, the

         Defendant Police Officers initiated and continued the prosecution of Mr. Vann for multiple crimes.

                380.    The Defendant Police Officers prosecuted Mr. Vann despite knowing the entire

         basis for his prosecution was the fabricated and falsified accounts of their interaction with Mr.

         Vann as recorded in their arrest and charging paperwork, and the coerced and falsified witness

         statements.

                381.    The Defendant Police Officers knew that the video surveilance recordings of the

         incident contradicted their false allegations that Mr. Vann had committed various crimes.

                382.    This conscience-shocking falsificaiton evidence and false testimony at the grand

         jury and petit jury deprived Mr. Vann of his liberty, in violation of the Fourth and Fourteenth

         Amendments.

                383.    The Defendant Police Officers’ conduct was critical to the continued prosecution

         of Mr. Vann and they knew, or in the absence of their deliberate and reckless indifference,

         should have known, that their conduct would cause Mr. Vann’s prosecution to continue.

                384.    On February 16, 2017, the prosecution terminated in Mr. Vann’s favor when he

         was acquitted by a jury.




                                                        - 53 -


                                                     53 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 54 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                 385.    Defendant Police Officers’ actions to deprive Mr. Vann of his liberty without

         probable cause were in violation of clearly established constitutional law, and no reasonable

         police officer in 2015 would have believed that the defendants' actions were lawful.

                 386.    As a direct and proximate result of the Defendant Police Officers’ actions, Mr.

         Vann was wrongly prosecuted and imprisoned for approximately five months and suffered the

         other grievous and continuing injuries and damages as set forth herein.

                 387.    Accordingly, Plaintiff demands judgment against the Defendants in a sum of

         money to be determined at trial.

                 388.    As a result of Defendants’ impermissible conduct, Plaintiff was injured and

         harmed. Accordingly, Plaintiff demands judgment against Defendants in a sum of money which

         exceeds the jurisdictional limits of all courts of lesser jurisdiction.


                                     THIRD CLAIM FOR RELIEF
                     MALICIOUS PROSECUTION UNDER NEW YORK STATE LAW
                  (Against KESTER, DRAKE, MITCHELL, KEPHART, MINTZ, ANGELO,
                          ZIMMERMAN, JOHN DOE NO. 1 and JOHN DOE NO. 5)

                 389.    Plaintiff Mr. Vann re-alleges each and every allegation contained in the above

         paragraphs with the same force and effect as if fully set forth herein.

                 390.    By the actions described above, each and all of the Defendant Police Officers,

         jointly and severally, acting in concert with each other and with additional persons for whose

         acts they are liable, initiated, continued and/or caused the initiation or continuation of, criminal

         proceedings against Plaintiff.

                 391.    The criminal proceedings terminated in Plaintiff’s favor.

                 392.    There was no probable cause for the commencement or the continuation of the

         criminal proceedings.


                                                            - 54 -


                                                        54 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 55 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                 393.    The Defendant Police Officers acted with actual malice.

                 394.    The Defendant Police Officers were at all times agents, servants, and employees

         acting within the scope of their employment by the Defendant City and the RPD, which are

         therefore responsible for their conduct.

                 395.    Defendant City is also liable to Plaintiff on the basis of respondeat superior as a

         result of the unlawful actions of the defendant police officers as described herein.

                 396.    As a result of Defendants’ impermissible conduct, Plaintiff was injured and

         harmed. Accordingly, Plaintiff demands judgment against Defendants in a sum of money which

         exceeds the jurisdictional limits of all courts of lesser jurisdiction.

                                 FOURTH CLAIM FOR RELIEF
                            DENIAL OF THE RIGHT TO A FAIR TRIAL
           (Against KESTER, DRAKE, MITCHELL, KEPHART, MINTZ, ANGELO, BARBER,
                       ZIMMERMAN, JOHN DOE NO. 1 and JOHN DOE NO. 5)

                 397.    Plaintiff Mr. Vann re-alleges each and every allegation contained in the above

         paragraphs with the same force and effect as if fully set forth herein.

                 398.    By deliberately manufacturing false evidence against Mr. Vann, including police

         reports containing the Defendant Police Officers’ own fabricated and falsified accounts that Mr.

         Vann had committed crimes and/or offenses, including trespass, resisting arrest, assaulting

         DRAKE and KESTER, and assaulting D.A., and forwarding that fabricated evidence to

         prosecutors, the Defendant Police Officers caused Plaintiff Mr. Vann to be arrested, detained,

         charged, and prosecuted, in violation of Plaintiff’s rights, pursuant to the Fifth, Sixth, and

         Fourteenth Amendments to the United States Constitution, to due process of law and to a fair

         trial, and are liable to Plaintiff under 42 U.S.C. § 1983, for compensatory and punitive damages.

                 320.    Accordingly, Plaintiff demands judgment against Defendants in a sum of money

         to be determined at trial.

                                                            - 55 -


                                                        55 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                            INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 56 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                 399.    As a result of Defendants’ impermissible conduct, Plaintiff was injured and

         harmed. Accordingly, Plaintiff demands judgment against Defendants in a sum of money which

         exceeds the jurisdictional limits of all courts of lesser jurisdiction.

                                   FIFTH CLAIM FOR RELIEF
          VIOLATION OF PLAINTIFF’S FOURTH AMENDMEMNT RIGHTS UNDER 42 U.S.C.
                  § 1983 ARISING FROM DEFENDANTS’ USE OF EXCESSIVE FORCE
           (Against KESTER, MITCHELL, DRAKE, KEPHART, JOHN DOE NO. 1, JOHN DOE
                                     NO. 2, JOHN DOE NO. 3)

                 400.    Plaintiff Mr. Vann re-alleges each and every allegation contained in the above

         paragraphs with the same force and effect as if fully set forth herein.

                 401.    Defendant KESTER grabbed Mr. Vann by the head, pulled him backwards

         causing his head to slam into a metal bench, and then slammed him onto the ground.

                 402.    Defendant DRAKE pushed Mr. Vann from behind, causing his head to slam into

         the metal bench, and then his body to be slammed onto the ground; and then DRAKE slammed

         Mr. Vann’s body into the side of the RPD vehicle and body slammed Mr. Vann onto the

         sidewalk.

                 403.    Defendant MITCHELL pushed Mr. Vann from behind, causing his head to slam

         into the metal bench, and then body slammed onto the ground on top of KESTER; punched and

         struck Mr. Vann in the head and body numerous times; slammed Mr. Vann into the side of the

         RPD vehicle and body slammed Mr. Vann onto the sidewalk; and pepper sprayed Mr. Vann

         directly in the face from just several inches.

                 404.    Defendant KEPHART punched and or kicked Mr. Vann while he was handcuffed

         at the Monroe County Jail after he was removed from the RPD vehicle, before he was brought

         into the jail for booking.




                                                            - 56 -


                                                        56 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                            INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 57 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                 405.    MITCHELL and John Does No. 1 and John Doe No. 2 violently body-slammed

         Mr. Vann face-down on the sidewalk, and John Doe No. 1 landed on Mr. Vann’s back with the

         full weight and force of his body.

                 406.    MITCHELL and JOHN DOE NO. 3 pulled Mr. Vann’s hands above his head,

         behind his back, hyper-extending his shoulders, and held him in that position for at least one

         minute.

                 407.    At no point during the incidents described herein did the circumstances

         necessitate or support the above applications of force utilized by the Defendant RPD OFFICERS

         against Plaintiff.

                 408.    As a result, Plaintiff was damaged, harmed and injured, and seeks compensation

         in an amount to be determined at trial.

                 409.    As a result of Defendants’ impermissible conduct, Plaintiff was injured and

         harmed. Accordingly, Plaintiff demands judgment against Defendants in a sum of money which

         exceeds the jurisdictional limits of all courts of lesser jurisdiction.

                                  SIXTH CLAIM FOR RELIEF
          VIOLATION OF PLAINTIFF’S CONSTITUTIONAL RIGHTS UNDER 42 U.S.C. §1983
                     ARISING FROM DEFENDANTS’ FAILURE TO INTERVENE
           (Against DRAKE, MINTZ, JOHN DOE NO. 2, JOHN DOE NO. 5, JOHN DOE NO. 6)

                 410.    Plaintiff Mr. Vann re-alleges each and every allegation contained in the above

         paragraphs with the same force and effect as if fully set forth herein.

                 411.    DRAKE had an affirmative duty to intercede on Plaintiff’s behalf to prevent and

         stop the violation of his constitutional rights by MITCHELL.

                 412.    DRAKE failed to intervene on Plaintiff’s behalf despite having had a realistic

         opportunity to do so, and despite having substantially contributed to the circumstances within

         which Plaintiff’s rights were violated by his affirmative conduct.

                                                            - 57 -


                                                        57 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                              INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1        6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 58 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018




                  413.    MINTZ had an affirmative duty to intercede on Plaintiff’s behalf to prevent and

         stop the violation of his constitutional rights by ANGELO and other defendants.

                  414.    MINTZ failed to intervene on Plaintiff’s behalf despite having had a realistic

         opportunity to do so, and despite having substantially contributed to the circumstances within

         which Plaintiff’s rights were violated by their affirmative conduct.

                  415.    JOHN DOE NO. 2, JOHN DOE NO. 5, and JOHN DOE NO. 6. had an

         affirmative duty to intercede on Plaintiff’s behalf to prevent and stop the violation of his

         constitutional rights by MITCHELL and JOHN DOE NO. 3.

                  416.    JOHN DOE NO. 2, JOHN DOE NO. 5, and JOHN DOE NO. 6. failed to

         intervene to stop and / or prevent MITCHELL and JOHN DOE NO. 3’s unjustified use of force

         against Mr. Vann in holding his hands above his head, painfully hyperextending his shoulders for

         over a minute, despite having been present and having had the time and a realistic opportunity to

         do so.

                  417.    As a result of the aforementioned conduct of the Defendant RPD OFFICERS,

         Plaintiff’s constitutional rights were violated.

                  418.    As a result, Plaintiff was damaged, injured and harmed, and seeks compensation

         in an amount to be determined at trial.

                  419.    As a result of Defendants’ impermissible conduct, Plaintiff was injured and

         harmed. Accordingly, Plaintiff demands judgment against Defendants in a sum of money which

         exceeds the jurisdictional limits of all courts of lesser jurisdiction.

                                   SEVENTH CLAIM FOR RELIEF
                         PRIVACY PROTECTION ACT – 42 U.S.C. § 2000aa, et seq.
                     (Against ANGELO, MINTZ, MITCHELL, BARBER, ZIMMERMAN)




                                                            - 58 -


                                                        58 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 59 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                 420.    Plaintiff re-alleges each and every allegation contained in the above paragraphs

         with the same force and effect as if fully set forth herein.

                 421.    One or more of the individual-defendants, while acting within the course and

         scope of their employment and under color of law, destroyed documentary materials and/or work

         product materials which the defendant RPD officers reasonably believed or should have

         reasonably believed plaintiffs intended to use to disseminate the above-described incident to

         members of the public.

                 422.    As a result, Plaintiff was damaged, injured and harmed, and seeks compensation

         in an amount to be determined at trial.

                 423.    As a result of Defendants’ impermissible conduct, Plaintiff was injured and

         harmed. Accordingly, Plaintiff demands judgment against Defendants in a sum of money which

         exceeds the jurisdictional limits of all courts of lesser jurisdiction.

                                       EIGHTH CLAIM FOR RELIEF
                              SUPERVISORY LIABILITY under 42 U.S.C. § 1983
                           (Against ZIMMERMAN, ANGELO and JOHN DOE NO. 5)

                 424.    Plaintiff re-alleges each and every allegation contained in the above paragraphs

         with the same force and effect as if fully set forth herein.

                 425.    ZIMMERMAN, ANGELO and JOHN DOE NO. 5 personally caused plaintiff’s

         constitutional injuries by being deliberately or consciously indifferent to the rights of others in

         failing to properly supervise, train, and discipline their subordinate employees.

                 426.    As a result, Plaintiff was damaged, injured and harmed, and seek compensation in

         an amount to be determined at trial.




                                                            - 59 -


                                                        59 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1        6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 60 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018




                 427.     As a result of Defendants’ impermissible conduct, Plaintiff was injured and

         harmed. Accordingly, Plaintiff demands judgment against Defendants in a sum of money which

         exceeds the jurisdictional limits of all courts of lesser jurisdiction.

                                 NINTH CLAIM FOR RELIEF
                      MALICIOUS ABUSE OF PROCESS under 42 U.S.C. § 1983
           (Against KESTER, DRAKE, MITCHELL, KEPHART, MINTZ, ANGELO, BARBER,
                       ZIMMERMAN, JOHN DOE NO. 1 and JOHN DOE NO. 5)

                 428.     Plaintiff repeats, reiterates and re-alleges each and every allegation contained in

         the above paragraphs with the same force and effect as if fully set forth herein.

                 429.     Defendants issued criminal process against plaintiff by causing his arrest and

         prosecution in Monroe County Criminal Court.

                 430.     Defendants caused plaintiff to be arrested and prosecuted in order to obtain a

         collateral objective outside the legitimate ends of the legal process, to wit: to avoid discipline for

         their abuse of authority and acts of brutality, and to retaliate against him for the injuries they

         caused to themselves, and thereby violated plaintiff Aaron Jimenez’s right to be free from

         malicious abuse of process.

                 431.     Accordingly, Plaintiff demands judgment against Defendants in a sum of money

         to be determined at trial.

                 432.     As a result of Defendants’ impermissible conduct, Plaintiff was injured and

         harmed. Accordingly, Plaintiff demands judgment against Defendants in a sum of money which

         exceeds the jurisdictional limits of all courts of lesser jurisdiction.

                                      TENTH CLAIM FOR RELIEF
                        DELIBERATE INDIFFERENCE TO SERIOUS MEDICAL NEEDS
                                        (Against all defendants)

                 433.     Plaintiff repeats, reiterates and re-alleges each and every allegation contained in

         the above paragraphs with the same force and effect as if fully set forth herein.

                                                            - 60 -


                                                        60 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1        6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 61 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018




                  434.    The Defendant CITY and the Defendant Police Officers have acted under color of

         law to deprive Plaintiff of his civil, constitutional and statutory rights to due process of law

         pursuant to the Fourth and Fourteenth Amendments of the United States Constitution and are

         liable to Plaintiff under 42 USC §1983.

                  435.    In response to Plaintiff informing numerous defendant police officers that he was

         in severe pain and that he required medical treatment, one or more defendant police officers

         denied his requests for medical treatment.

                  436.    Despite Plaintiff’s obvious serious physical injuries, and the fact that he was

         incoherent and unconscious at the scene of the incident after defendants brutally attacked him,

         defendants refused to provide him needed medical treatment, refused to transport him to the

         hospital, and refused to allow EMS to transport him to the hospital, which constituted deliberate

         disregard towards Plaintiff’s serious medical needs and the substantial risk of serious harm he

         faced.

                  437.    Plaintiff was not otherwise provided with an opportunity to receive medical

         attention.

                  438.    Because Plaintiff was refused immediate medical treatment while he was in

         custody, he suffered from extreme pain and his physical injuries were exacerbated.

                  439.    Plaintiff’s serious physical injuries were exacerbated by the defendant POLICE

         OFFICERS refusal to take plaintiff for immediate medical treatment.

                  440.    Plaintiff’s serious physical injuries were exacerbated by the defendant POLICE

         OFFICERS instructing the staff at the Monroe County Jail not to provide Plaintiff with medical

         treatment in retaliation for KESTER breaking his leg and DRAKE separating his shoulder, which

         they falsely informed jail employees were caused by Mr. Vann.



                                                        - 61 -


                                                      61 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                              INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1         6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 62 of 131
                                                                          RECEIVED  NYSCEF: 05/16/2018




                 441.      Plaintiff was damaged by the deliberate indifference of the Defendant CITY and

         the Defendant POLICE OFFICERS.

                 442.      As a result of Defendants’ impermissible conduct, Plaintiff demands judgment

         against defendants in a sum of money to be determined at trial.

                 443.      As a result of Defendants’ impermissible conduct, Plaintiff was injured and

         harmed. Accordingly, Plaintiff demands judgment against Defendants in a sum of money which

         exceeds the jurisdictional limits of all courts of lesser jurisdiction.

                             ELEVENTH CLAIM FOR RELIEF
          MUNICIPAL LIABILITY UNDER MONELL ARISING FROM UNCONSTITUTIONAL
           MUNICIPAL POLICES RELATING TO THE DEFENDANT CITY’S FAILURE TO
           DISCIPLINE RPD OFFICERS WHO USE FORCE WITHOUT JUSTIFICATION—
             EVEN WHEN THE UNLAWFUL USE OF FORCE IS CAPTURED ON VIDEO
                                    (Against the City)

                 444.      Plaintiff Mr. Vann re-alleges each and every allegation contained in the above

         paragraphs with the same force and effect as if fully set forth herein.

                 445.      The Defendant City and the RPD have deliberately and systemically failed to

         discipline RPD Officers who use force without justification, even when said unlawful use of

         force is captured on video.

                 446.      The need for said discipline is presently and patently obvious, as numerous RPD

         Officers, including the Defendant RPD OFFICERS, have repeatedly used force without

         justification.

                 447.      The City and RPD caused Mr. Vann’s injuries by failing to discipline the

         defendant RPD officers when they used excessive force against arrestees on numerous occasions

         prior to September 4, 2015, causing them to repeat their unlawful use of force against Mr. Vann,

         because they knew to a moral certainty that there would be no consequences for their use of

         excessive force.

                                                            - 62 -


                                                        62 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 63 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                448.    The City and RPD also caused Mr. Vann’s injuries by failing to discipline the

         defendant RPD officers and other RPD officers when they used excessive force against arrestees

         on numerous occasions prior to September 4, 2015, and said use of force was captured on video,

         but the City and the RPD failed to impose any discipline on the officers, despite the unlawfulness

         of their conduct being clearly demonstrated by the video evidence; thus, defendants herein knew

         to a moral certainty that there would be no consequences for their use of excessive force against

         Mr. Vann.

                449.    The failure of the Defendant CITY and the RPD to maintain standards governing

         the imposition of discipline when the Defendant RPD OFFICERS and their fellow officers use

         force without justification, even when the force constitutes an unconstitutional municipal policy,

         practice and custom.

                450.    By failing to discipline officers who use force without justification and/or who

         fail to document use-of-force incidents, despite the repeated unjustified use of force by numerous

         RPD Officers making the need for said discipline obvious, the Defendant City and the RPD have

         demonstrated their deliberate indifference to the constitutional deprivations caused by RPD

         Officers’ repeated use of force without justification and their failure to document use-of-force

         incidents.

                451.    The Defendant City and the RPD have had actual and/or constructive knowledge

         of the pervasive and widespread practice of RPD officers’ use force without justification for

         many years, but has failed to take any affirmative steps to end the practice—like disciplining

         officers who use excessive force.

                452.    Instead, the Defendant City and the RPD have demonstrated their deliberate

         indifference to the pervasive and widespread practice of RPD officers’ use of excessive force by



                                                       - 63 -


                                                    63 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                   INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 64 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




         encouraging RPD Officers to use force without justification through granting awards and

         promotions to the Defendant RPD OFFICERS and their fellow officers who have repeatedly

         used force without justification. 3

                453.    While the RPD has never undertaken any internal study of the use of excessive

         force by its officers, and statistics on these practices are not available, there is extensive evidence

         of a permanent, longstanding, and widespread practice of the Defendant CITY and RPD failing

         to discipline RPD Officers who have used force without justification or take other remedial

         actions to prevent officers from using force without justification, which encourages the

         Defendant RPD OFFICERS and their fellow officers to use force without justification because

         they know to a virtual certainty that they will not be disciplined for doing so.

                454.    While the RPD has never undertaken any internal study of the use of excessive

         force by its officers and so no accurate statistics on RPD Officers use of force, statistics from

         other jurisdictions that do collect data shows that where an officer who uses excessive force is

         not disciplined following their unlawful use of force, they are more likely to use excessive force

         again in the future.

                455.    Although the Defendant CITY and RPD have the technological capabilities to

         identify and track officers who have been involved in multiple use of force incidents, this

         information has not been utilized by the Defendant CITY or the RPD to discipline officers who

         have repeatedly used force without justification.




         3
           See, Carlet Cleare, Suspended RPD officer named “Officer of the Year”, 13 WHAM (May 5,
         2017), http://13wham.com/news/top-stories/rpd-officer-honored-in-midst-of-controversy; Todd
         Clausen, City man hit by patrol car sues RPD, others for $7M, DEMOCRAT & CHRONICLE (July
         21, 2016), http://www.democratandchronicle.com/story/news/2016/07/21/rochester-ny-man-
         brian-a-norford-files-7-million-civil-suit-against-rochester-police/87382790/. Articles
         incorporated by reference herein.
                                                         - 64 -


                                                      64 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                       INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 65 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                 456.    The fact that the Defendant CITY and RPD deliberately fail to discipline RPD

         Officers who use excessive force in the course of effectuating arrests constitutes an unlawful

         municipal policy, which permits and encourages RPD Officers to use force without justification

         in violation of the Fourth Amendment to the United States Constitution.

              THE CITY AND RPD HAVE AN OFFICIAL POLICY, PRACTICE AND CUSTOM OF
             FAILING TO DISCIPLINE OFFICERS WHO USE EXCESSIVE FORCE—EVEN WHEN
                            SAID INCIDENTS ARE CAPTURED ON VIDEO

                 457.    On May 1, 2013, RPD Officers Joseph M Ferrigno II and Anthony R. Liberatore

         were recorded by RPD Blue Light Cameras4 and witnesses cell phone cameras5 brutally beating

         Benny Warr, a 52-year-old African American man and wheelchair-bound amputee, while he was

         waiting for a RTS bus at the intersection of Jefferson and Bartlett Streets. 6 As reported by the

         Democrat & Chronicle, Mr. Warr testified to the RPD’s Professional Standards Section “that he

         was maced, thrown to the ground and struck after he responded to an order to move by telling

         officers that he was just waiting for a bus.”7 Mr. Warr’s PSS testimony was corroborated by

         witness’ cell phone8 videos and RPD Blue Light Camera video.9




         4
           See RPD Blue Light Camera video posted to YouTube, edited footage from cop cam on May 1st of Benny Warr
         attack, https://www.youtube.com/watch?v=47vo2WVcWY0 (last visited Apr. 10, 2016). Video incorporated by
         reference herein.
         5
           See Cell phone video taken by Ms. Tashay Young, a/k/a Shakur Mohammed, originally posted to YouTube on
         May 4, 2013, and later edited and reposted on June 24, 2013, Corrected Higher Resolution Video of Benny Warr
         Being Attacked, https://www.youtube.com/watch?v=7xifmR0C3Mk&nohtml5=False (last visited Apr. 10, 2016).
         Video incorporated by reference herein.
         6
           See Complaint, Warr, et al. v. City of Rochester, et al., 13-cv-6508-DLG-MWP (W.D.N.Y. Sept. 19, 2013).
         Complaint incorporated by reference herein.
         7
            Erica Bryant, Whatever happened to Benny Warr, DEMOCRAT & CHRONICLE (Dec. 7, 2013),
         http://www.democratandchronicle.com/story/news/local/2013/12/06/erica-bryant-what-ever-happened-to-benny-
         warr-/3895715/ (last visited Apr. 10, 2016). Article incorporated by reference herein.
         8
           See Cell phone video taken by Ms. Tashay Young, a/k/a Shakur Mohammed, originally posted to YouTube on
         May 4, 2013, and later edited and reposted on June 24, 2013, Corrected Higher Resolution Video of Benny Warr
         Being Attacked, https://www.youtube.com/watch?v=7xifmR0C3Mk&nohtml5=False (last visited Apr. 10, 2016).
         Video incorporated by reference herein.
         9
           See RPD Blue Light Camera video posted to YouTube, edited footage from cop cam on May 1st of Benny Warr
         attack, https://www.youtube.com/watch?v=47vo2WVcWY0 (last visited Apr. 10, 2016). Video incorporated by
         reference herein.

                                                           - 65 -


                                                        65 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 66 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                458.    The PSS investigation found that Officer Libertore utilized an elbow strike to

         Benny Warr’s head while Mr. Warr was lying face down on the ground, and determined that the

         elbow strike was an untrained technique under RPD standards.

                459.    The PSS investigation also found that before Officer Libertore utilized the

         untrained elbow strike to Mr. Warr’s head, he stated to Mr. Warr, “are you ready to get your ass

         kicked.”

                460.    Officer Libertore testified to PSS that:

                                He knew that he was under arrest. The only way he was
                                going to leave was in an ambulance, meaning that we were
                                definitely going to have to get physical and that either he
                                was going to have to be hurt, or one of us were going to be
                                hurt.

                461.    Any reasonable person reviewing the PSS findings, Officer Ferrigno’s PSS

         testimony, and the videos of Officers Ferrigno and Libertore pepper-spraying Benny Warr,

         pushing his wheel chair over, and repeatedly striking Mr. Warr in the head and body while Mr.

         Warr was lying face down on the ground could only describe the force used by Officers Ferrigno

         and Libertore as objectively unreasonable and excessive.

                462.    Nevertheless, the PSS and CRB each recommended to the RPD Chief of Police

         James Sheppard that Officers Ferrigno and Libertore be exonerated on Benny Warr’s allegation

         that the officers used excessive force while effectuating his arrest.

                463.    According to the CRB, its main focus “is to determine the fairness, thoroughness

         and timeliness of the police complaint investigation as well as any possible deficiencies.”10




         10
            Police Community Relations Program: Civilian Review Board 2015 Annual Report at 15, available at
         http://www.cityofrochester.gov/WorkArea/DownloadAsset.aspx?id=8589964676 (last visited Apr. 17, 2016)
         (Hereinafter “2015 CRB Report”). 2015 CRB Report incorporated by reference herein.

                                                         - 66 -


                                                      66 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1           6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 67 of 131
                                                                            RECEIVED  NYSCEF: 05/16/2018




         Moreover, the CRB prides itself in “providing independent, neutral fair representation for all

         involved parties.”11

                     464.    However, in the CRB review of Benny Warr’s excessive force complaint, the

         CRB panelists accused the RPD of attempting to inappropriately influence their investigation.

         Specifically, the CRB panelists objected to the fact that Sergeant Andrew McPherson, one of the

         RPD’s Defensive Tactics Coordinators, made a presentation to the CRB explaining the purported

         reasons the PSS exonerated Officers Ferrigno and Libertore, despite the overwhelming video and

         testimonial evidence showing they used excessive force in effectuating the arrest of Benny Warr.

                     465.    Former RPD Chief of Police James Sheppard reviewed the PSS and CRB

         investigative findings, and the witness cell phone and RPD Blue Light Camera videos of the

         incident, and decided to exonerate both officers on Mr. Warr’s excessive force allegations,

         because he believed their use of force was reasonable under the circumstances.

                     466.    Former Chief Sheppard is a municipal policymaker for the defendant City, and his

         decision not to discipline Ferrigno and Libertore constituted a ratification of their unlawful use of

         force.

                     467.    Sheppard’s decision not to discipline Ferrigno and Libertore constituted an

         official policy of the City and the RPD that RPD officers will not be disciplined for using

         excessive force, even if their grossly excessive use of force is captured on video.

                     468.    The Defendant City has admitted that the CRB and its use-of-force review

         procedures are constitutionally deficient, as the City has begun the process to overhaul its

         civilian review process.12


         11
              Id. at 3.
         12
            Sharpe, Brian, City Council seeks outside study of police civilian review process, DEMOCRAT
         & CHRONICLE (June 3, 2017).
         http://www.democratandchronicle.com/story/news/2017/06/03/council-begins-review-bryant-
                                                           - 67 -


                                                        67 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1        6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 68 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018




                 469.     The proliferation of video evidence capturing police misconduct has led to an

         increase in the number and percentage of substantiated complaints of police misconduct in

         municipalities across the county. For example, in New York City, the number of complaints

         substantiated by the NYPD’s Civilian Complaint Review Board (“CCRB”) increased

         approximately seventy-percent (70%) from 2014 to 2015.13 In fact, forty-three percent (43%) of

         cases where video evidence was available were substantiated by the CCRB in 2015, as opposed

         to thirty-percent (30%) of cases substantiated overall.14

                 470.     Nevertheless, Defendant CITY and the RPD persist in their failure to discipline

         RPD Officers who use force without justification, even when presented with irrefutable video

         evidence that said use of force was unjustified and excessive.15

                 471.     In fact, by permitting RPD Officers to attend a training by Bill Lewinski, the self-

         proclaimed "police psychologist," who is a notorious advocate for police officers who have shot

         a person under suspicious circumstances, and is infamous for advocating the use of various

         debunked junk science methods—like that he believes a man’s level of aggressiveness can be

         determined by anthropometry—the Defendant CITY and RPD have demonstrated that their




         case-seeks-outside-study-civilian-review-board/365336001/. Article incorporated by reference
         herein.
         13
            John Annese and Graham Rayman, Review Board substantiates 30% of civilian complaints against NYPD officers
         in December with video evidence, N.Y. Daily News (Jan. 15, 2016), http://www.nydailynews.com/new-york/30-
         civilian-complaints-nypd-substantiated-article-1.2497121 (last visited Apr. 10, 2016). Article incorporated herein by
         reference.
         14
            Id.
         15
           See generally, Barbara Lacker-Ware and Theodore Forsyth, The Case for an Independent
         Police Accountability System: Transforming the Civilian Review Process in Rochester, New York
         (2017). Available online at: http://enoughisenough.rocus.org/wp-content/uploads/2017/02/The-
         Case-for-an-Independent-Police-Accountability-System-2.1.17-FINAL.pdf. Report incorporated
         by reference herein.
                                                                - 68 -


                                                            68 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 69 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




         primary concern is their officers better justifying their unlawful use of force ex post, and not

         reducing the number of force incidents ex ante.16

          THE DEFENDANT CITY AND RPD’S DELIBERATE INDIFFERENCE IS EVIDENCED BY
            THE FAILURE TO INVESTIGATE USE OF FORCE INCIDENTS OR TO DISCIPLINE
            OFFICERS WHO HAVE REPEATEDLY USED FORCE WITHOUT JUSTIFICATION—
                       EVEN WHEN SAID FORCE IS CAPTURED ON VIDEO

                 472.    The Defendant CITY and the RPD have been on notice of the widespread practice

         of officers’ use excessive force since at least 1992, when former RPD Chief Gordon F. Urlacher

         pleaded guilty to a felony conspiracy charge that he knew about civil rights abuses of five RPD

         officers, including the repeated use of excessive force, but deliberately failed to discipline the

         officers for their unlawful actions.17

                 473.    In recent years, with the proliferation of cell phone cameras, numerous excessive

         force incidents have been captured on video; nevertheless, even when clear video evidence

         demonstrates that an officer’s use of force was unlawful and excessive, the City and the RPD

         refuse to discipline said officers.

                 474.    By failing to discipline officers in the first instance, said officers are encouraged

         to repeat their use of excessive force against subsequent individuals. The below examples

         constitute just a small fraction of the officers who have repeatedly used excessive force but have

         not been disciplined, even when the force incident was captured on video.




         16
            David Andreatta, Rochester Police Department backpedals on controversial training,
         DEMOCRAT & CHRONICLE (Sept. 6, 2017),
         http://www.democratandchronicle.com/story/news/local/columnists/andreatta/2017/09/06/roches
         ter-backpedals-controversial-police-training/639216001/. Article incorporated by reference
         herein.
         17
            Civil Rights Trial Is Likely to Leave a Long-Term Mark on Rochester Police, N.Y. Times
         (Apr. 6, 1993), http://www.nytimes.com/1993/04/06/nyregion/civil-rights-trial-is-likely-to-leave-
         a-long-term-mark-on-rochester-police.html (last visited June 7, 2016). Article incorporated by
         reference herein.
                                                         - 69 -


                                                      69 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                              INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 70 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                        RPD OFFICER PATRICK GIANCORSO AND HIS PARTNER WILLIAM
                        WAGNER

                475.    Patrick Giancursio has used excessive force against numerous individuals in the

         City of Rochester both before and after the incident complained of herein, but has never been

         disciplined by the Defendant CITY or the RPD.

                476.    Instead, Giancursio has been rewarded by the Defendant CITY and the RPD for

         his repeated unlawful use of force against various arrestees.

                477.    For example, the RPD awarded Giancursio its “Officer of the Year Award” in

         May 2017, even though he was suspended at the time of the award while the department

         allegedly investigated his use of force against Alexander Grassies in an April 2017 incident that

         was caught on surveillance video.18

                478.    Giancursio was also caught on surveillance video using excessive force against

         Brian Norford in the area of 475 Lyell Avenue, Rochester, New York, on February 3, 2016,

         when Giancursio drove his RPD vehicle onto a sidewalk to purposefully strike Mr. Norford, who

         was knocked to the ground. After knocking Mr. Norford to the ground with his police cruiser,

         Giancursio exited the vehicle and struck him several times along with his partner, William

         Wagner.19

                479.    Despite Giancursio being captured on video using grossly excessive amount of

         force at least two times between February 2016 and April 2017, and the fact that he was



         18
            Carlet Cleare, Suspended RPD officer named “Officer of the Year”, 13 WHAM (May 5,
         2017), http://13wham.com/news/top-stories/rpd-officer-honored-in-midst-of-controversy. Article
         incorporated by reference herein.
         19
            Todd Clausen, City man hit by patrol car sues RPD, others for $7M, DEMOCRAT &
         CHRONICLE (July 21, 2016),
         http://www.democratandchronicle.com/story/news/2016/07/21/rochester-ny-man-brian-a-
         norford-files-7-million-civil-suit-against-rochester-police/87382790/. Article incorporated by
         reference herein.
                                                        - 70 -


                                                     70 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                              INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 71 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




         suspended pending the department’s investigation into his use of force against Mr. Garries in the

         April 2017 incident, the RPD still chose to honor Giancursio by awarding him its “Officer of the

         Year Award.”

                 480.    Despite Giancursio’s unlawful actions against Mr. Norford being captured on

         video, costing the City tens of thousands of dollars to settle Ms. Norford’s civil claims, and

         garnering widespread media attention, the Defendant CITY and the RPD never conducted an

         independent investigation into Giancursio’s use of force against Mr. Norford to determine if it

         was unlawful, excessive or in violation of RPD policies.

                 481.    In fact, Giancursio’s use of force against Mr. Norford was unlawful, excessive

         and violated the RPD’s policies.

                 482.    Nevertheless, the Defendant CITY and RPD never disciplined Giancursio

         following the February 3, 2016 where he, inter alia, falsely arrested and used excessive force

         against Mr. Norford.

                 483.    Moreover, despite Giancursio’s unlawful actions against Mr. Garries being

         captured on video and garnering widespread media attention, the Defendant CITY and the RPD

         failed to conduct an independent, full, and fair investigation into Defendant Giancursio’s use of

         force against Mr. Garries to determine if it was unlawful, excessive or in violation of RPD

         policies.

                 484.    In fact, Giancursio’s use of force against Mr. Norford and Mr. Garries was

         unlawful, excessive and violated the RPD’s policies.

                 485.    Nevertheless, the Defendant CITY and RPD eventually exonerated Giancursio

         and failed to impose any meaningful discipline against him following the April 2017 incident

         where he was captured on video using excessive force against Mr. Garries.



                                                      - 71 -


                                                   71 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 72 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                 486.    Notably, Giancorso’s partner, Wagner, was present with Giancorso throughout the

         February 3, 2016 incident with Mr. Norford and the April 2017 incident with Mr. Garries, and he

         both used excessive force against Mr. Norford and Mr Garries, and he failed to intervene to

         prevent Giancorso’s use of excessive force against Mr. Norford and Mr. Garries, despite having

         had the opportunity to do so.

                 487.    Moreover, Despite Giancursio’s unlawful actions against Mr. Garries being

         captured on video and garnering widespread media attention, the Defendant CITY and the RPD

         failed to conduct an independent, full, and fair investigation into Defendant Giancursio’s use of

         force against Mr. Garries to determine if it was unlawful, excessive or in violation of RPD

         policies.

                 488.    Instead, Defendant CITY and the RPD accepted Giancursio and Wagner’s

         justification for the use of force at face value.20

                 489.    In fact, in speaking about the suspensions of GIANCURSIO and WAGNER as a

         result of the incident involving Mr. Garries, RPD Chief Michael Ciminelli stated, “[w]e need to

         understand the justification for the use of force. Whenever an officer uses force, that officer has

         an obligation to articulate the justification for the force … why it was done, how it was done, did

         it follow our training, our policies.”21

                 490.    Chief Ciminelli admits that an officers’ subjective justification for the use-of-

         force is more important than objective evidence demonstrating whether said use of force was

         actually excessive and unlawful.




         20
            2 Rochester police officers suspended over incident on video, Democrat & Chronicle (Apr. 20,
         2017) https://www.usatoday.com/story/news/2017/04/20/2-rochester-police-officers-
         suspended/100703474/. Article incorporated by reference herein.
         21
            Id.
                                                          - 72 -


                                                       72 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 73 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                491.    The Defendant CITY and RPD eventually exonerated Giancursio and failed to

         impose any meaningful discipline against Giancursio following the April 2017 incident where he

         was captured on video using excessive force against Mr. Garries.

                492.    Chief Ciminelli is a municipal policymaker for the defendant City, and his

         decision not to discipline Giancursio constituted a ratification of his unlawful use of force.

                493.    Chief Ciminelli’s decision not to discipline Giancursio, and instead allowing him

         to be awarded the “Officer of the Year Award” in May 2017, constituted a continuation of the

         official policy of the City and the RPD that RPD officers will not be disciplined for using

         excessive force, even if their grossly excessive use of force is captured on video, which was

         previously established by former Chief Sheppard by his decision not to discipline Officers

         Ferrigno and Libertore.

                        RPD OFFICER THOMAS RODRIGUEZ

                494.    RPD Officer Thomas Rodriguez has used excessive force against numerous

         individuals in the City of Rochester but has never been reprimanded, suspended, retrained on the

         use of force, or otherwise disciplined by the City or the RPD.

                495.    On August 31, 2002, RPD officer Thomas Rodriguez and other RPD Officers

         attacked Lawrence Rogers at 375 Driving Park Avenue, Rochester, New York, by tacking him to

         the ground, TASER-ing him, punching, kicking, and beating him with night sticks. Upon

         information and belief, the excessive force used against Mr. Rogers by RPD officer Thomas

         Rodriguez and other RPD Officers, caused his death.

                496.    RPD Officer Thomas Rodriguez was never disciplined by the Defendant City or

         the RPD following the incident on August 31, 2002 that caused Mr. Rogers’ death.




                                                        - 73 -


                                                     73 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 74 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                497.    Thereafter, on May 10, 2007, RPD officer Thomas Rodriguez used excessive

         force against Ann Marie Sanders, a 100-pound woman, during an incident, where he grabbed her

         by the arms, body slammed her into the ground, put his knee in her back, handcuffed her, threw

         her into the back of a police vehicle, and threatened to mace her.

                498.    RPD Officer Thomas Rodriguez was never disciplined by the Defendant City or

         the RPD following the May 10, 2007 incident with Ann Marie Sanders.

                499.    On August 7, 2016, RPD Officer Thomas Rodriguez, was involved in the brutal

         beating of 17-year-old Ricky Bryant, wherein Mr. Bryant was shot with “pepper balls,” punched

         in the face, thrown to the ground, sprayed him in the face with mace, and shot with a TASER.

                500.    As a result of the brutal beating at the hands of P.O. Rodriguez and other RPD

         Officers, Mr. Bryant suffered serious physical injuries, including a fractured orbital socket.

                501.    Mr. Bryant filed a complaint of excessive force against P.O. Rodriguez and other

         RPD Officers who brutally beat him with the Civilian Review Board.

                502.    The Civilian Review Board and the RPD exonerated P.O. Rodriguez and the other

         officers involved in the brutal beating of Mr. Bryant.

                503.    After the Civilian Review Board and the RPD exonerated P.O. Rodriguez and the

         other RPD Officers involved in the brutal beating of Mr. Bryant, the Rochester City Counsel, for

         the first time ever, issued subpoenas for records related to the incident.

                504.    The direct and proximate cause of P.O. Rodriguez’s utilization of the illegal and

         excessive amount of force used against Mr. Bryant, resulting in a fractured orbital socket, was

         the Defendant CITY and the RPD’s failure to discipline P.O. Rodriguez after he previously used

         force without justification against Ms. Sanders, Mr. Rogers, and other individuals in the City of

         Rochester.



                                                         - 74 -


                                                      74 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 75 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                505.       Despite P.O. Rodriguez’s unlawful actions garnering national media attention, the

         Defendant CITY and the RPD have not conducted a full, thorough, fair and independent

         investigation into P.O. Rodriguez’s use of force against Mr. Bryant, to determine if it was

         unlawful, excessive or in violation of RPD policies.

                506.       Defendant CITY and RPD never disciplined P.O. Rodriguez following the August

         7, 2016 incident where he, inter alia, brutally beat 17-year-old Ricky Bryant and fractured his

         orbital socket.

                507.       In April 2017, RPD Officer Thomas Rodriguez placed DKuan Webb in an illegal

         chokehold in an incident that was recorded on P.O. Rodriguez’s body camera.

                508.       P.O. Rodriguez’s illegal chokehold of Mr. Webb was investigated by the Federal

         Bureau of Investigation, according to the Democrat & Chronicle.22

                509.       In mid-July 2017, the Defendant CITY agreed to pay Mr. Webb $125,000 to settle

         any potential civil claims arising from the violation of Mr. Webb’s rights under the United States

         Constitution and the common laws of the State of New York.

                510.       The direct and proximate cause of P.O. Rodriguez’s utilization of the illegal

         chokehold against Mr. Webb was the Defendant CITY and the RPD’s failure to discipline P.O.

         Rodriguez after he previously used force without justification against Ms. Sanders, Mr. Rogers,

         Mr. Bryant and other individuals in the City of Rochester.

                511.       Despite P.O. Rodriguez’s unlawful actions being captured on video, costing the

         City $125,000 to settle Mr. Webb’s civil claims, drawing an FBI investigation into P.O.

         Rodriguez for possible federal criminal and or civil rights violations, and garnering national


         22
           Gary Craig, City pays $125,000 to man allegedly choked by RPD police officer, DEMOCRAT &
         CHRONICLE (Sept. 5, 2017), http://www.democratandchronicle.com/story/news/2017/09/05/city-
         rochester-police-choking-fbi-settlement-dkuan-webb-thomas-rodriguez-john-
         parrinello/632147001/. Article incorporated by reference herein.
                                                         - 75 -


                                                      75 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 76 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




         media attention, the Defendant CITY and the RPD have not conducted an independent

         investigation into P.O. Rodriguez’s use of force against Mr. Webb to determine if it was

         unlawful, excessive or in violation of RPD policies.

                512.    Defendant CITY and RPD never disciplined P.O. Rodriguez following the April

         2017 incident where he, inter alia, utilized an illegal chokehold against DKuan Webb.

                RPD OFFICER ALEXANDER BALDAUF (and his partner Ricky Harris Jr.)

                513.    RPD Officer Alexander Baldauf has used excessive force against numerous

         individuals in the City of Rochester but has never been reprimanded, suspended, retrained on the

         use of force, or otherwise disciplined by the Defendant City or the RPD.

                514.    On August 17, 2013, RPD Officer Alexander Baldauf and attacked Dwayne Ivery

         in Rochester, New York, punching Mr. Ivery in the head numerous times, slamming his body

         onto the ground, again punching Mr. Ivery in the head and body, and stomping on Mr. Ivery’s

         head with his foot. This incident was captured on video.

                515.    Throughout the incident, upon information and belief, Officer Baldauf’s partner,

         Ricky Harris Jr., stood idly nearby and failed to intervene to prevent or stop Officer Baldauf’s

         violation of Mr. Ivery’s rights, despite having the time and realistic opportunity to do so.

                516.    Despite this interaction being caught on video, the Defendant CITY and the RPD

         never conducted an independent investigation of the use of force by RPD Officers Alexander

         Baldauf and Ricky Harris Jr. against Mr. Ivery to determine if it was unlawful, excessive or in

         violation of RPD policies.

                517.    RPD Officers Alexander Baldauf and Ricky Harris Jr. were never disciplined by

         the City or the RPD following the incident on with Mr. Ivery on or about August 17, 2013.




                                                        - 76 -


                                                     76 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 77 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                518.    Thereafter, on April 20, 2015, RPD Officer Alexander Baldauf used excessive

         force against Delmar Lipford during an incident at or near the intersection of Culver Road and

         East Main Street, Rochester, New York. Officer Baldauf shoved Mr. Lipford in the back several

         times, punched him in the face, and pointed his TASER at Mr. Lipford.

                519.    Throughout the incident on April 20, 2015, Officer Baldauf’s partner, Ricky

         Harris Jr., stood idly nearby and failed to intervene to prevent or stop Officer Baldauf’s violation

         of Mr. Lipford’s rights, despite having the time and realistic opportunity to do so.

                520.    RPD Officers Alexander Baldauf and Ricky Harris Jr. were never disciplined by

         the Defendant City or the RPD following the incident with Mr. Lipford on April 20, 2015.



                        RPD OFFICER JOSEPH FERRIGNO II

                521.    RPD Officer Joseph Ferrigno II has used excessive force against numerous

         individuals in the City of Rochester but has never been reprimanded, suspended, retrained on the

         use of force, or otherwise disciplined by the Defendant CITY or the RPD.

                522.    Officer Ferrigno has been the subject of at least 23 civilian complaints of

         misconduct reviewed by the RPD’s Professional Standards Section (“PSS”), many of which

         involved allegations of excessive force; however, Officer Ferrigno has never been reprimanded,

         suspended, retrained on the use of force, or otherwise disciplined by the Defendant City or the

         RPD.

                523.    On or about September 12, 2010, RPD Officer Joseph Ferrigno II used excessive

         force against the Robin Turner during an incident where she called 911 to report that she’d been

         assaulted by a teenager in her neighborhood; Officer Ferrigno responded and refused to file a

         police report, and when Ms. Turner complained about Officer Ferrigno’s actions, he retaliated



                                                        - 77 -


                                                     77 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 78 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




         against Ms. Turner by body slamming her onto the ground, dragging her across the ground

         approximately 10 feet, and arresting her; as a result of the excessive force used by Officer

         Ferrigno, Ms. Turner suffered a broken rib.

                524.    Despite Ms. Turner filing a complaint about the excessive amount of force used

         against her during her arrest, upon information and belief, the Defendant CITY and the RPD

         never conducted an independent investigation of the use of force by RPD Officer Ferrigno to

         determine if it was unlawful, excessive or in violation of RPD policies.

                525.    Officer Ferrigno was never reprimanded, suspended, retrained on the use of force,

         or otherwise disciplined by the Defendant CITY or the RPD following the September 12, 2010

         incident where he used excessive force against Ms. Turner.

                526.    On or about May 11, 2012, RPD Officer Joseph Ferrigno II used excessive force

         against Darren Williams during an incident where Officer Ferrigno hit Mr. Williams in the face

         while he was sitting down, threw him on the ground, punched and kicked him in his body and

         head, and stating to the plaintiff, “nigger, I’m going to teach you to respect authority.”

                527.    Despite Mr. Williams filing a complaint about the excessive amount of force used

         against him during his arrest, the Defendant CITY and the RPD never conducted an independent

         investigation of the use of force by RPD Officer Ferrigno to determine if it was unlawful,

         excessive or in violation of RPD policies.

                528.    Officer Ferrigno was never reprimanded, suspended, retrained on the use of force,

         or otherwise disciplined by the Defendant CITY or the RPD following the May 11, 2012 incident

         where he used excessive force and racial slurs against Mr. Williams.

                529.    On May 1, 2013, RPD Officer Joseph M Ferrigno II and his partner, Anthony R.

         Liberatore, brutally beat and falsely arrested Benny Warr, a 52-year-old African American



                                                         - 78 -


                                                      78 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                       INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 79 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




         wheelchair-bound amputee, while he was waiting for a RTS bus at the intersection of Jefferson

         and Bartlett Streets. As reported by the Democrat & Chronicle, Mr. Warr testified to the RPD’s

         Professional Standards Section “that he was maced, thrown to the ground and struck after he

         responded to an order to move by telling officers that he was just waiting for a bus.”23 The

         incident between Mr. Warr and RPD Officers Ferrigno and Liberatore was caught on video by

         several bystanders24 and the RPD’s Blue Light Cameras.25

                 530.    RPD Officers Ferrigno and Libertore were never reprimanded, suspended,

         retrained on the use of force, or otherwise disciplined by the Defendant CITY or the RPD

         following the May 1, 2013 incident where they brutally beat Benny Warr.


                         RPD OFFICER MARIO MASIC


                 531.    RPD Officer Mario Masic has used excessive force against numerous individuals

         in the City of Rochester both before and after the incident complained of herein, but has never

         been reprimanded, suspended, retrained on the use of force, or otherwise disciplined by the

         Defendant CITY or the RPD.

                 532.    Citizens of Rochester who were repeatedly harassed, assaulted and subjected to

         excessive force by Masic sarcastically nicknamed him the “Cowboy” because of his wild and

         lawless tactics. However, upon information and belief, Masic has embraced the nickname, and is



         23
             Erica Bryant, Whatever happened to Benny Warr, DEMOCRAT & CHRONICLE (Dec. 7, 2013),
         http://www.democratandchronicle.com/story/news/local/2013/12/06/erica-bryant-what-ever-happened-to-benny-
         warr-/3895715/ (last visited Apr. 10, 2016). Article incorporated by reference herein.
         24
            See Cell phone video taken by Ms. Tashay Young, a/k/a Shakur Mohammed, originally posted to YouTube on
         May 4, 2013, and later edited and reposted on June 24, 2013, Corrected Higher Resolution Video of Benny Warr
         Being Attacked, https://www.youtube.com/watch?v=7xifmR0C3Mk&nohtml5=False (last visited Apr. 10, 2016).
         Video incorporated by reference herein.
         25
            See RPD Blue Light Camera video posted to YouTube, edited footage from cop cam on May 1 st of Benny Warr
         attack, https://www.youtube.com/watch?v=47vo2WVcWY0 (last visited Apr. 10, 2016). Video incorporated by
         reference herein.

                                                           - 79 -


                                                        79 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 80 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




         notorious for referring to himself as “The Cowboy” during interactions with citizens in

         Rochester.

                533.    MASIC has used excessive force against other arrestees after the date of the

         incident complained of herein, including the use of force without justification against arrestees

         while they were handcuffed.

                534.    MASIC has never reprimanded, suspended, retrained on the use of force, retrained

         on the duty to intervene to prevent and/or stop unlawful actions of his fellow police officers, or

         been otherwise disciplined by the Defendant City or the RPD following the incident(s) that

         occurred either before or after the incident complained of herein.

                535.    On August 7, 2009, MASIC unlawfully stopped, searched, arrested and used

         excessive force against a young man named Deshawn Keon Fields. MASIC thereafter falsified

         his police paperwork in an attempt to justify the reasons that he stopped and arrested Mr. Fields,

         and then forwarded that falsified paperwork to the Monroe County District Attorney’s Office.

         Thereafter, MASIC perjured himself in front of the grand jury by tailoring his testimony in an

         attempt to nullify constitutional deficiencies in his arrest paperwork.

                536.    Thereafter, in People v. Fields, Indictment No. 2009-0864 (Feb. 17, 2010), the

         Honorable Joseph D. Valentino granted the criminal defendant’s motion to suppress because

         forensic evidence showed that MASIC had testified untruthfully before the grand jury to nullify

         constitutional deficiencies in his arrest paperwork and justify the initial unlawful stop and search

         of Mr. Fields. Judge Valentino also found Masic’s testimony at the suppression hearing to be

         incredible and unbelievable.

                537.    Masic violated NY CPL § 140.05 and RPD internal rules and regulations when he

         fabricated his arrest and charging paperwork in Fields.



                                                        - 80 -


                                                     80 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 81 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                538.     Masic violated RPD internal rules and regulations when he lied under oath to the

         Grand Jury and at the suppression hearing in Fields.

                539.     After Judge Valentino granted the criminal defendant’s motion to suppress in

         Fields based on his finding that Masic had lied in his arrest and charging paperwork and perjured

         himself on the stand, the Defendant CITY and the RPD failed to discipline Masic.

                540.     By failing to discipline MASIC after his unlawful actions in Fields, the Defendant

         CITY and the RPD condoned his unlawful conduct, causing him to violate the rights of

         subsequent individuals, including Mr. Vann.

                541.     On May 12, 2011, Masic unlawfully entered the property of a woman named

         Emily Good, and assaulted, battered and falsely arrested Ms. Good in retaliation for her lawfully

         filming Masic while he conducted vehicle search of an African American motorist who Masic

         had stopped directly in front of Ms. Good’s home. Ms. Good filmed the encounter from her front

         yard, and when Ms. Good refused Officer Masic’s request to stop filming, Officer Masic entered

         her front yard, grabbed her phone from her hand, threw her to the ground, arrested her and

         charged her with Disorderly Conduct, Obstruction of Governmental Administration and

         Resisting Arrest.

                542.     Masic falsified his official arrest paperwork in an attempt to justify his unlawful

         arrest and use of force against Ms. Good, which he then forwarded to prosecutors to initiate her

         prosecution.

                543.     All of the false criminal charges Masic initiated against Ms. Good were dismissed

         less than a week after Masic falsely arrested her.




                                                        - 81 -


                                                     81 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 82 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                 544.    Ms. Good filed a Notice of Claim against the Defendant CITY following the May

         12, 2011 incident where Masic, inter alia, falsely arrested and used excessive force against Ms.

         Good.

                 545.    Defendant CITY offered Ms. Good a sum of money to settle her claim in

         exchange for her agreeing to forgo filing a civil rights lawsuit against the Defendant CITY and

         Masic related to the incident on May 12, 2011.

                 546.    Despite this interaction being caught on video, costing the City tens of thousands

         of dollars to settle Ms. Good’s civil claim, and garnering national media attention, the Defendant

         CITY and the RPD never conducted an independent investigation of the use of force Masic

         against Mr. Good to determine if it was unlawful, excessive or in violation of RPD policies.

                 547.    The Defendant CITY and RPD never reprimanded, suspended, retrained, or

         otherwise disciplined Masic following the May 12, 2011 incident where he, inter alia, falsely

         arrested and used excessive force against Emily Good.

                 548.    Thereafter, on September 18, 2015, Officer Masic arrested Quintin Keene in a

         laundromat on Genesee Street, Rochester, New York, and fabricated his arrest paperwork to

         falsely charge him with disorderly conduct, obstruction of governmental administration and

         resisting arrest. All the criminal charges were eventually dismissed. In the course of arresting

         Mr. Keene, Officer Masic pepper sprayed Mr. Keene, body-slammed him onto the ground, and

         told Mr. Keene if he did not stop moving he was going to be shot.

                 549.    More details about Masic’s misconduct in Mr. Keene’s case are detailed in the

         Seventh Claim for Relief, supra.




                                                       - 82 -


                                                    82 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 83 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                550.     Despite Masic admitting that he used force against Mr. Keene and all of the false

         criminal charges brought against Mr. Keene eventually being dismissed, Masic was never

         disciplined or reprimanded for his unlawful use of force against Mr. Keene.

                OTHER RECENT EXCESSIVE FORCE INCIDENTS CAPTURED ON VIDEO

                551.     On September 15, 2016, RPD officers were captured on video falsely arresting

         Lentorya Parker and violently throwing her to the ground. 26 The officers involved were never

         disciplined.

                552.     On August 27, 2013, RPD officers were captured on video assaulting a pregnant

         woman, Brenda Hardaway, punching her in the head and violently throwing her to the ground. 27

         The officers involved were never disciplined.

                          THESE UNCONSTITUTIONAL POLICIES AND PRACTICES
                                  RESULTED IN PLAINTIFF’S INJURIES


                553.     The City’s policy and custom of failing to discipline officers who make false

         arrests, use excessive force and lie about the reasons for making arrests and using force caused

         Mr. Vann’s constitutional rights to be violated as alleged herein.

                554.     For example, on May 24, 2015, KESTER falsely arrested and used excessive

         force against Septimus Scott, and then lied about the circumstances that led to his arrest and use

         of force against Mr. Scott in official police paperwork.



         26
            Amy Hudak, Body camera video released in Hollenbeck St. incident, WHAM13 (Sept. 27,
         2016), http://13wham.com/news/top-stories/body-camera-video-released-in-hollenbeck-st-
         incident; Amy Hudak, Woman sues RPD, claiming excessive force in viral video, WHAM13
         (Sept. 6, 2017), http://13wham.com/news/local/woman-sues-rpd-claiming-excessive-force-in-
         viral-video. Articles and videos linked to therein are incorporated by reference hereto.
         27
            Christine Carrie Fien, Arrest video provokes outrage; chief responds, CITY NEWSPAPER (Aug.
         28, 2013), https://www.rochestercitynewspaper.com/rochester/arrest-video-provokes-outrage-
         chief-responds/Content?oid=2265099. Articles and videos linked to therein are incorporated by
         reference herein.
                                                         - 83 -


                                                     83 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                             INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 84 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                555.    In the incident with Mr. Scott, KESTER arrived at the scene of a vehicle stop

         where RPD Officer Destiny Deterville was attempting to conduct a sobriety test on Mr. Scott.

                556.    After Mr. Scott had passed the walk and turn, stand on one leg, and horizontal

         nystagmus tests, she attempted to administer a breathalyzer test, even though she did not know

         how to use the machine.

                557.    Deterville stated, “the machine is not working.”

                558.    While Deterville was struggling with the breathalyzer machine, KESTER

         approached and screamed at Mr. Scott to “blow in the fucking machine.”

                559.    Mr. Scott told KESTER that he had complied with all of Deterville’s instructions,

         that he was crying because he was having a panic attack, and that he was an Army Veteran and

         had been diagnosed with PTSD.

                560.    KESTER told Mr. Scott to “shut up,” then grabbed his head and slammed his face

         into the side of an RPD vehicle, slammed his body onto the ground, and punched him in the back

         of the head and torso multiple times, without any reasonable justification or lawful purpose for

         the amount of force used.

                561.    KESTER then pepper sprayed Mr. Scott in the eyes and mouth from within one to

         two inches, without justification or lawful purpose.

                562.    KESTER fabricated his reasons for arresting and using force against Mr. Scott in

         official RPD paperwork to initiate a criminal prosecution against Mr. Scott for crimes KESTER

         knew he did not commit.

                563.    All the false charges brought against Mr. Scott by KESTER and other RPD

         officers were eventually dismissed.




                                                       - 84 -


                                                    84 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                   INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 85 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                564.    Nevertheless, the City and the RPD never investigated the incident or disciplined

         KESTER for his false arrest and use of excessive force against Mr. Scott, or for his fabrication of

         evidence to initiate the prosecution of Mr. Scott for crimes KESTER knew he did not commit.

                565.    The incident with Mr. Scott occurred less than four months prior to the incident

         complained of herein with Mr. Vann.

                566.    Just like the incident with Mr. Scott, in this incident KESTER similarly arrived

         late to the scene of an incident and immediately escalated the situation as he was the first officer

         to use force against Mr. Vann. Additionally, like the incident with Mr. Scott, KESTER lied about

         the reasons for arresting and using force against Mr. Vann in official police paperwork and

         charging documents to cover up his unlawful actions.

                567.    None of the Defendant RPD OFFICERS have ever been reprimanded, suspended,

         retrained on the use of force, or otherwise disciplined by the Defendant CITY or the RPD for any

         instance where they used force without justification, despite the Defendant CITY and the RPD

         knowing that each of the Defendant RPD OFFICERS have used force without justification on

         numerous occasions.

                568.    The Defendant City and the RPD’s practice of tolerating and condoning police

         misconduct by its officers, including but not limited to the Defendant RPD OFFICERS, directly

         and proximately resulted in Plaintiff Mr. Vann being assaulted, battered, subjected to excessive

         force, falsely arrested, maliciously prosecuted, denied his right to a fair trial, and subjected to the

         other deprivations of his rights secured by the common law and the United States Constitution as

         described herein.




                                                         - 85 -


                                                      85 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                      INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 86 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                 569.    The Defendant CITY and the RPD’s policy, practice and custom of condoning the

         use of force without justification has caused countless individuals to be victimized by RPD

         Officers’ repeated use of excessive force, including the Plaintiff Mr. Vann.

                 570.    As a result of the above constitutionally impermissible conduct, Mr. Vann

         suffered violations of his civil rights, emotional distress, anguish, anxiety, fear, humiliation, and

         physical injury.

                 571.    Accordingly, Mr. Vann demands judgment against Defendants in a sum of money

         to be determined at trial.

                 572.    Plaintiff also demands injunctive relief in the form of an Order directing the

         Defendant City and the RPD to implement a new system for investigating use-of-force incidents

         and disciplining officers that use force without justification.

                 573.    Because the Defendant City and RPD have persistently resisted calls for such

         reforms, Plaintiff demands that any injunctive relief ordered by the Court include independent

         oversight—such as a Federal Monitor.

                 574.    Because accountability begins with access to reliable data, any remedy must

         include mechanisms to ensure the accurate tracking of use-of-force incidents, lawsuits,

         misconduct complaints and internal probes. Compilation of this data is the only way to find

         patters and effectively (1) root out bad officers, (2) amend or change RPD policy, and (3)

         identify issues that need to be addressed via additional training.28

                 575.    As a result of Defendants’ impermissible conduct, Plaintiff was injured and

         harmed. Accordingly, Plaintiff demands judgment against Defendants in a sum of money which

         exceeds the jurisdictional limits of all courts of lesser jurisdiction.

         28
             See, e.g., Long, Colleen, NYPD tracking officer data on lawsuits, complaints, AP (Jul. 15, 2011),
         http://www.policeone.com/officer-misconduct-internal-affairs/articles/8656321-NYPDtracking-officer-data-on-
         lawsuits-complaints. Article incorporated by reference herein.

                                                            - 86 -


                                                        86 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 87 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                             TWELFTH CLAIM FOR RELIEF
                         MUNICIPAL LIABILITY UNDER MONELL
         ARISING FROM UNCONSTITUTIONAL MUNICIPAL POLICES RELATING TO THE
           RPD’S CUSTOM, PRACTICE, AND POLICY OF FAILING TO DISCIPLINE RPD
           OFFICERS’ WHO FABRICATE THEIR ACCOUNTS OF INTERACTIONS WITH
              ARRESTEES IN OFFICIAL POLICE PAPERWORK AND WHO PERJURE
                          THEMSELVES IN SWORN TESTIMONY
                                    (Against the City)


                576.    Plaintiff re-alleges each and every allegation contained in the above paragraphs

         with the same force and effect as if fully set forth herein.

                577.    The Defendant Police Officers intentionally destroyed evidence favorable to Mr.

         Vann; coerced witnesses to sign false statements; fabricated their accounts of their interaction

         with Mr. Vann and the reasons for his arrest and their use of force against him in his arrest and

         charging paperwork; and testified falsely against Mr. Vann at the grand jury and petit jury,

         despite having collected security camera recordings of the incident on the night of the incident

         that contradicted their testimony and demonstrated it was false.

                578.    The defendants’ actions were taken pursuant to the RPD’s policy, practice and

         custom of fabricating their accounts of their interactions with arrestees in official RPD

         paperwork and charging documents, and testifying falsely in court, in an attempt to justify false

         arrests and excessive use of force incidents. This is also known as making “contempt of cop”

         arrests and fabricating their account of the reason that such persons were arrested charging the

         victim of the unlawful arrest with “cover charges.”

                579.    High-ranking officials within the Defendant City and the RPD are and have been

         aware of the RPD’s practice of arresting the victims of RPD beatings, fabricating their account of

         the reason for arresting said victims in official police paperwork, and initiating their prosecution

         for cover charges like resisting arrest and related offenses by forwarding said paperwork to



                                                         - 87 -


                                                      87 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 88 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




         prosecutors, without reasonable cause or lawful purpose. Despite this knowledge, they have

         tolerated and encouraged RPD Officers to continue to arrest said victims, fabricate and falsify

         their paperwork, and request prosecution of said individuals on false cover charges. These

         supervisors’ continued acquiescence to this practice--of arresting victims of excessive force,

         fabricating and falsifying police paperwork to charge said victims with false cover charges, and

         forwarding said paperwork to prosecutors—manifests deliberate indifference toward the rights of

         arrestees and the public in the City of Rochester.

                580.    Moreover, the Defendant City, through former RPD Chief James Sheppard, has

         admitted that the Defendant City and the RPD maintain an unlawful policy of making “contempt

         of cop” arrests and fabricating their account of the reason that such persons were arrested

         charging the victim of the unlawful arrest with “cover charges.” Specifically, Chief Sheppard

         admitted in sworn testimony that the RPD has historically and continues to maintain a policy

         whereby RPD Officers are instructed to issue dispersal orders to individuals lawfully present on

         public sidewalks, and when the individuals fail to display the degree of deference or

         subservience demanded by the arresting officer(s), RPD Officers are instructed to arrest the

         individuals despite the absence of the commission of any crime and to falsely charge them with

         “cover charges” such as disorderly conduct, trespass, obstruction of governmental administration

         and harassment.

                581.    A case recently settled by the Defendant City, Redd v. City, et al., 15-CV-6049-

         DGL-JWF (W.D.N.Y. 2014), in the amount of $30,000 exemplifies a quintessential contempt-of-

         cop/cover charge false arrest, where the arresting officers fabricated their reasons for arresting

         the plaintiff in official police paperwork. In Redd, on November 27, 2013, RPD Officer Eliud

         Rodriguez arrested the 16-year-old plaintiff and two of his Edison Tech Varsity Basketball



                                                        - 88 -


                                                     88 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 89 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




         teammates29 as they waited at the bus stop in downtown Rochester, NY, which was designated

         by City of Rochester officials and employees as the bus stop for all Rochester City School

         District sports teams. Officer Rodriguez arrested Mr. Redd and his two teammates in retaliation

         for their perceived failure to adequately comply with his unlawful order to “move along” when

         the three student-athletes attempted to explain they were waiting for their school bus. Officer

         Rodriguez and other RPD officers lied in official police paperwork and charged Mr. Redd and

         his two teammates with Disorderly Conduct, despite knowing they lacked probable cause to do

         so. Approximately ten (10) days after the false arrest, the Monroe County District Attorney

         dropped all of the false criminal charges levied against Mr. Redd and his two teammates.

                582.    As detailed in the complaint in Redd v. City, et al., in the Summer of 2014, the

         United States Department of Justice, including the Federal Bureau of Investigation (FBI) and the

         United States Attorneys’ Office for the Western District of New York, conducted an

         investigation to determine whether federal criminal charges should be brought against RPD

         Officer Eliud Rodriguez for his unlawful conduct.

                583.    A third high profile contempt of cop/cover charge arrest occurred on May 1,

         2013, when RPD Officers Ferrigno and Libertore arrested Benny Warr, a 52-year-old wheelchair

         bound man, while he was waiting for a RTS bus at the intersection of Jefferson and Bartlett

         Streets.30 As reported by the Democrat & Chronicle, Mr. Warr testified to the RPD’s

         Professional Standards Section “that he was maced, thrown to the ground and struck after he

         responded to an order to move by telling officers that he was just waiting for a bus.” The incident



         29
            The two co-arrestees of the plaintiff in Redd v. City, et al., 15-CV-6049-DGL-JWF (W.D.N.Y.
         2014) reached settlements in the amount of $10,000 (Weathers and Carelock) with Defendant
         City prior to filing civil rights lawsuits in court.
         30
            See Complaint, Warr, et al. v. City of Rochester, et al., 13-cv-6508-DLG-MWP (W.D.N.Y.
         Sept. 19, 2013). Complaint incorporated by reference herein.
                                                       - 89 -


                                                    89 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                             INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 90 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




         between Mr. Warr and the Rochester Police Officers was caught on video by several bystanders,

         and by the RPD’s “blue light” cameras. The Rochester Police Officers charged Mr. Warr with

         Disorderly Conduct and Resisting Arrest. Further, “[s]ince reporting his version of the events,

         [Mr. Warr] has heard nothing from the police or the Civilian Review Board, the body that is

         supposed to review citizens' complaints of alleged police misconduct.”31

                584.    Another “contempt of cop” arrest that received national media attention occurred

         in May 2011, when Masic arrested and used excessive force against Emily Good. As reported by

         CNN, after RPD Officers pulled over an African American motorist and began searching his

         vehicle in front of Ms. Good’s home, Ms. Good began filming the search because she was

         concerned it was motivated by racial profiling. Ms. Good filmed the encounter from her front

         yard. When Ms. Good refused Masic’s unlawful order to stop filming, Masic falsely arrested Ms.

         Good and charged her with Obstruction of Governmental Administration. The Monroe County

         District Attorney eventually dismissed all charges against Ms. Good, stating that, "Based upon

         the evidence, we could not make out the elements of the crime charged.”32 Upon information and

         belief, Ms. Good reached a settlement with the Defendant City prior to filing a civil rights

         lawsuit in court.

                585.    Moreover, the City and RPD are aware that several RPD officers, including Mario

         Masic, have a long history of violating individuals’ constitutional rights, and then lying about



         31
            Bryant, Erica, Whatever Happened to Benny Warr?, DEMOCRAT & CHRONICLE (Dec. 7, 2013).
         Article     incorporated      by    reference   herein     and      available     online     at:
         http://www.democratandchronicle.com/story/news/local/2013/12/06/erica-bryant-what-ever-
         happened-to-benny-warr-/3895715/ (last visited Dec. 8, 2014). Article incorporated by reference
         herein.
         32
            See Solomon, Jessee, Charges dismissed against woman who videotaped police encounter,
         CNN (June 27, 2011). Article incorporated by reference herein and available online at:
         http://www.cnn.com/2011/CRIME/06/27/new.york.police.video/ (last visited Dec. 7, 2014).
         Article incorporated by reference herein.
                                                      - 90 -


                                                   90 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 91 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




         their reasons for arresting and/or using force against individuals, but have failed to take any

         disciplinary actions against those repeat offenders, despite video evidence and/or court opinions

         finding or strongly suggesting that they fabricated their paperwork and/or lied under oath in an

         attempt to nullify constitutional deficiencies in their arrest paperwork.

                586.    There are numerous other cases in addition to that of Emily Good where Officer

         Masic has falsely arrested and/or used excessive force against individuals, and then fabricated his

         account in his paperwork and/or testified falsely in court regarding his reasons for arresting and

         using force against the individual.

                587.    For example, in People v. Fields, Indictment No. 2009-0864 (Feb. 17, 2010), the

         Honorable Joseph D. Valentino granted the criminal defendant’s motion to suppress because he

         found MASIC’s testimony that he observed Mr. Fields commit alleged crimes incredible and

         unbelievable, and tailored to nullify constitutional deficiencies in the arrest and charging

         paperwork completed by MASIC.

                588.    After Judge Valentino granted the criminal defendant’s motion to suppress in

         Fields based on his finding that MASIC had lied in his arrest and charging paperwork and

         perjured himself on the stand, the Defendant CITY and the RPD failed to discipline MASIC.

                589.    Thereafter, on September 18, 2015, Officer Masic arrested Quintin Keene in a

         laundromat on Genesee Street, Rochester, New York, and fabricated his arrest paperwork to

         falsely charge him with disorderly conduct, obstruction of governmental administration and

         resisting arrest. All the criminal charges were eventually dismissed. In the course of arresting

         Mr. Keene, Officer Masic pepper sprayed Mr. Keene, body-slammed him onto the ground, and

         told Mr. Keene if he did not stop moving he was going to be shot.




                                                         - 91 -


                                                     91 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                              INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 92 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                590.    On March 16, 2014, the Honorable Thomas R. Morse dismissed the false

         Resisting Arrest charge levied against Mr. Keene after hearing oral argument on the motion to

         dismiss filed by Mr. Keene’s criminal defense attorney.

                591.    On or about May 27, 2015, MASIC testified at a Mapp/Huntley hearing before

         the Honorable Thomas R. Morse, and his testimony established that he did not have reasonable

         suspicion to stop or seize Mr. Keene, or reasonable or probable cause to arrest him for any crime

         or violation, and that he had fabricated his arrest and charging paperwork.

                592.    On or about May 27, 2015, Masic committed perjury when he testified

         untruthfully at the Mapp/Huntley hearing.

                593.    As a result of Masic’s testimony, the People determined the lacked probable cause

         to continue the prosecution of Mr. Keene for Obstruction of Governmental Administration, and

         so on or about May 30, 2015, the People offered Mr. Keene an Adjournment in Contemplation of

         Dismissal (“ACD”) with respect to the Obstruction of Governmental Administration charge.

                594.    RPD Officer Mario Masic was never reprimanded, suspended, retrained on the

         use of force, or otherwise disciplined by the Defendant CITY or the RPD following the incident

         on September 18, 2018 where he used excessive force in the course of effectuating the false

         arrest of Mr. Keene.

                595.    Further, more detailed information regarding the repeated acts of misconduct of

         RPD Officers Eliud Rodriguez, Masic, Joseph Ferrigno and Anthony Libertore are outlined in

         the Sixth Claim for Relief, supra.

                         THESE UNCONSTITUTIONAL POLICIES AND PRACTICES
                                 RESULTED IN PLAINTIFF’S INJURIES




                                                       - 92 -


                                                     92 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                   INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 93 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                596.    The City’s policy and custom of failing to discipline officers who make false

         arrests, use excessive force and lie about the reasons for making arrests and using force caused

         Mr. Vann’s constitutional rights to be violated as alleged herein.

                597.    For example, on May 24, 2015, KESTER falsely arrested and used excessive

         force against Septimus Scott, and then lied about the circumstances that led to his arrest and use

         of force against Mr. Scott in official police paperwork.

                598.    Further details regarding KESTER’s false arrest, use of excessive force and

         fabrication of evidence against Mr. Scott are detailed in the Ninth Claim for Relief, infra, and are

         incorporated in full herein.

                599.    None of the Defendant RPD OFFICERS were disciplined by the Defendant CITY

         or the RPD for any instance where they falsified police paperwork, coerced false witness

         statements, failed to preserve exculpatory evidence, or testified falsely in court, despite the

         Defendant CITY and the RPD knowing that each of the Defendant RPD OFFICERS have

         committed such misconduct on numerous occasions.

                600.    None of the Defendant RPD OFFICERS have ever been reprimanded, suspended,

         retrained on their legal duties to testify truthfully in court a/k/a to not commit perjury, or

         otherwise disciplined by the Defendant CITY or the RPD for any instance where they committed

         perjury, despite the Defendant CITY and the RPD knowing that each of the Defendant RPD

         OFFICERS have committed perjury on numerous occasions.

                601.    The Defendant City and the RPD’s practice of tolerating and condoning police

         misconduct by its officers, including but not limited to the Defendant RPD OFFICERS, directly

         and proximately resulted in Plaintiff Mr. Vann being assaulted, battered, subjected to excessive

         force, falsely arrested, maliciously prosecuted, denied his right to a fair trial, and subjected to the



                                                         - 93 -


                                                      93 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 94 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




         other deprivations of his rights secured by the common law and the United States Constitution as

         described herein.

                 602.    The Defendant CITY and the RPD’s policy, practice and custom of condoning the

         RPD officers’ falsification of their arrest and charging paperwork has denied countless

         individuals of their right to a fair trial, including the Plaintiff Mr. Vann.

                 603.    The Defendant CITY and the RPD’s policy, practice and custom of condoning the

         RPD officers’ perjuring themselves in front of the Grand Jury, at suppression hearings and at

         trial has denied numerous individuals of their right to a fair trial, including the Plaintiff Mr.

         Vann.

                 604.    As a result of the above constitutionally impermissible conduct, Mr. Vann

         suffered violations of his civil rights, emotional distress, anguish, anxiety, fear, humiliation, and

         physical injury.

                 605.    Accordingly, Mr. Vann demands judgment against Defendants in a sum of money

         to be determined at trial.

                 606.    As a result of Defendants’ impermissible conduct, Plaintiff was injured and

         harmed. Accordingly, Plaintiff demands judgment against Defendants in a sum of money which

         exceeds the jurisdictional limits of all courts of lesser jurisdiction.

                            THIRTEENTH CLAIM FOR RELIEF
                         MUNICIPAL LIABILITY UNDER MONELL
         ARISING FROM UNCONSTITUTIONAL MUNICIPAL POLICES RELATING TO THE
          DELIBERATE INDIFFERENCE OF THE CITY AND THE RPD TO THE RIGHTS OF
         INDIVIDUALS SUFFERING FROM MENTAL ILLNESSES AND/OR EXPERIENCING
                           ACUTE MENTAL HEALTH EPISODES
                                   (Against the City)

                 607.        Plaintiff re-alleges each and every allegation contained in the above

         paragraphs with the same force and effect as if fully set forth herein.



                                                            - 94 -


                                                        94 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 95 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                608.    The Defendant City and the RPD maintain an unconstitutional policy, practice

         and custom of RPD officers arresting individuals without probable cause and using force without

         justification during arrests and non-arrest interactions with individuals in the City of Rochester

         suffering from mental illnesses, both chronic and acute.

                609.    MITCHELL, KESTER, and DRAKE knew or should have known that Mr. Vann

         was suffering from a mental health condition when they were interacting with him on the night

         of the incident.

                610.    MITCHELL, KESTER, and DRAKE’s false arrest and excessive use of force

         against Mr. Vann was caused by their lack of training on identifying individuals suffering from

         mental health conditions, and how to properly interact with such individuals.

                611.    Defendant City and the RPD lack any rules, regulations or standards governing

         officers’ interactions with individuals suffering from either chronic or acute mental illnesses.

                612.    Defendant City and the RPD does not provide any training, either at the police

         academy or in-service, regarding how to safely and lawfully interact with individuals suffering

         from either chronic or acute mental illnesses.

                613.    The Defendant City knew or should have known that the requirements,

         guidelines, and terms of its training for the Defendant Police Officers were inadequate regarding

         interacting with individuals suffering from either chronic or acute mental illnesses., and to

         prevent the Defendant Police Officers from engaging in the wrongful conduct alleged herein.

                614.    The Defendant City and the RPD has persistently failed to discipline officers who

         fail to comply with the laws, rules, regulations and standards governing officers’ conduct during

         interactions with individuals suffering from either chronic or acute mental illnesses. Specifically,




                                                          - 95 -


                                                     95 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 96 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




         the City and the RPD have persistently failed to discipline officers who falsely arrest and/or use

         force without justification on individuals suffering from either chronic or acute mental illnesses.

                615.    On July 15, 2001, RPD Officer Eliud Rodriguez falsely arrested and used

         excessive force against Edward S. Richards, who suffered from a chronic and/or acute mental

         illness. Just like this case, RPD Officer Eliud Rodriguez pepper sprayed Mr. Richards while he

         was handcuffed, and stood idly by and failed to prevent or stop his partner from striking Mr.

         Richards multiple times while he was handcuffed.

                616.    RPD Officer Rodriguez was never reprimanded, suspended, retrained on the use

         of force, retrained on how to properly interact with individuals suffering from either chronic or

         acute mental illnesses, or otherwise disciplined by the Defendant City or the RPD following the

         incident with Mr. Richards on July 15, 2001.

                617.    Thereafter, on or about June 21, 2012, RPD Officer Eliud Rodriguez was one of

         seven RPD Officers who shot and killed Israel Andino. When Officer Rodriguez and other

         officers shot and killed Israel Andino, they knew that he was suffering from chronic and/or acute

         mental illnesses.

                618.    RPD Officer Rodriguez was never reprimanded, suspended, retrained on the use

         of force, retrained on how to properly interact with individuals suffering from either chronic or

         acute mental illnesses, or otherwise disciplined by the Defendant City or the RPD following the

         shooting death of Israel Andino on June 21, 2012.

                619.    On July 10, 2005, RPD Officer Mark Simmons responded to a 911 call that 13-

         year-old LaShedica Mason was suicidal and had locked herself in a room in her family’s home

         on St. Jacob Street in Rochester. After Officer Simmons entered the home, the 13-year-old girl

         opened the door to the room and was holding a knife. Upon seeing the 13-year-old LaShedica



                                                        - 96 -


                                                     96 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 97 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




         holding a knife, Officer Simmons shot her three times, resulting in serious permanent injuries to

         LaShedica.

                620.    RPD Officer Simmons was never reprimanded, suspended, retrained on the use of

         force, retrained on how to properly interact with individuals suffering from either chronic or

         acute mental illnesses, retrained on suicide intervention, or otherwise disciplined by the

         Defendant City or the RPD following the July 10, 2015 incident where he shot LaShedica

         Mason—a suicidal 13-year-old girl—three times from close range.

                621.    Instead, following the July 10, 2005 incident where he shot LaShedica Mason,

         Officer Simmons has received several promotions: first to Sergeant and Special Assistant to

         former Chief of Police James Sheppard; then to Lieutenant and commanding officer of the

         Professional Standards Section; and then recently to Deputy Chief of Administration.

                622.    The Defendant City apparently admits that fails to train its officers on how to

         properly interact with individuals who are suffering from chronic and/or acute mental illnesses.

         Specifically, City of Rochester’s official website states that the Rochester Police Department's

         Emotionally Disturbed Persons Response Team (EDPRT) is:

                        [a] group of employees specially trained, on a voluntary basis, to
                        deal with emotionally disturbed individuals in a variety of
                        situations in the Rochester community. These situations may
                        include suicidal persons, persons exhibiting irrational behavior,
                        handling psychiatric patients, the homeless, various mental health
                        concerns and/or referrals, and any other situations that deal
                        specifically with the needs of the mental health community and
                        emotionally disturbed persons.33

                         THESE UNCONSTITUTIONAL POLICIES AND PRACTICES
                                 RESULTED IN PLAINTIFF’S INJURIES



         33
           ROCHESTER POLICE DEPARTMENT SPECIAL OPERATIONS DIVISION, CITY OF
         ROCHESTER, http://www.cityofrochester.gov/article.aspx?id=8589936531 (last visited June 7,
         2017)(emphasis added).
                                                      - 97 -


                                                   97 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 98 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                 623.    The City’s policy and custom of failing to discipline officers who make false

         arrests, use excessive force and lie about the reasons for making arrests and using force caused

         Mr. Vann’s constitutional rights to be violated as alleged herein.

                 624.    For example, on May 24, 2015, KESTER falsely arrested and used excessive

         force against Septimus Scott, who had been diagnosed with PTSD and was suffering a panic

         attack at the time of his arrest and KESTER’s brutal use of force against him.

                 625.    Further details regarding KESTER’s false arrest, use of excessive force and

         fabrication of evidence against Mr. Scott, who was also suffering from both a chronic and acute

         mental health condition, are detailed in the Ninth Claim for Relief, infra, and are incorporated in

         full herein.

                 626.    During the May 24, 2015 incident, Mr. Scott explained to the RPD officers,

         including KESTER, that he was an army veteran, he had a serious injury to his right leg from an

         IED explosion, that he had been diagnosed with PTSD, and that he was crying because he was

         having a panic attack.

                 627.    Nevertheless, KESTER ignored Mr. Scott, became frustrated with him as he tried

         to explain his mental health issues, told Mr. Scott to “shut up,” then grabbed his head and

         slammed his face into the side of an RPD vehicle, slammed his body onto the ground, and

         punched him in the back of the head and torso multiple times, and then pepper sprayed him in

         the face from a distance of just several inches.

                 628.    KESTER was never disciplined following the incident with Mr. Scott, nor was he

         retrained on how to properly identify whether an individual is suffering from a mental health

         condition or how to properly interact with such individuals.




                                                        - 98 -


                                                     98 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                     INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                1          6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 99 of 131
                                                                           RECEIVED  NYSCEF: 05/16/2018




                    629.    KESTER’s false arrest and use of excessive force against Mr. Scott occurred less

         than four months prior to his false arrest and use of excessive force against Mr. Vann, and the

         failure of the City and the RPD to take any remedial action to train KESTER on how to identify

         individuals dealing with mental health conditions, to properly interact with such individuals, or

         to discipline him for his unlawful actions was a direct and proximate cause of the violation of

         Mr. Vann’s rights as alleged herein.

                    630.    The foregoing customs, policies, usages, practices, procedures and rules of the

         Defendant City and the RPD were the direct and proximate cause of the constitutional violations

         suffered by Plaintiff Mr. Vann as alleged herein.

                    631.    Any reasonable and/or properly trained police officer would have understood that

         at the time of the incident on September 4, 2015, Mr. Scott suffered from a chronic mental

         illness.

                    632.    The Defendant Police Officers had never received any training during their

         employment by the Defendant City and the RPD on how to properly and lawfully interact with

         individuals suffering from chronic and/or acute mental illnesses, including individuals suffering

         from PTSD and individuals having panic attacks.

                    633.    The Defendant City is deliberately indifferent to the fact that its police officers do

         not receive any training on how to properly and lawfully interact with individuals suffering from

         mental illnesses, and individuals experiencing acute mental health episodes. Despite being on

         notice that officers regularly and routinely interact with individuals suffering from chronic

         mental illnesses and individuals experiencing acute mental health episodes, and despite knowing

         that said lack of training had previously caused repeated violations of individuals’ rights, the

         Defendant City and the RPD failed to take any remedial action.



                                                            - 99 -


                                                         99 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 1       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 100 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018




                  634.    The foregoing customs, policies, usages, practices, procedures and rules of the

          Defendant City and the RPD constituted deliberate indifference to the safety, well-being and

          constitutional rights of the Plaintiff Mr. Vann.

                  635.    The foregoing customs, policies, usages, practices, procedures and rules of the

          Defendant City and the RPD were the moving force behind the constitutional violations suffered

          by Plaintiff Mr. Vann as alleged herein.

                  636.    As a result of the foregoing customs, policies, usages, practices, procedures and

          rules of the Defendant City and the RPD, Plaintiff was subjected to an unlawful stop, seizure,

          search, assault, battery, use of excessive force, false arrest, malicious prosecution, denial of his

          right to a fair trial, and to the other deprivations of his rights secured by the common law and the

          constitutions of the State of New York and the United States as described herein.

                  637.    As a result of the foregoing, Plaintiff was caused to suffer personal injuries,

          violation of his civil rights, physical harm, pain, emotional distress, anguish, anxiety, fear,

          humiliation, loss of freedom, damage to his reputation and standing within his community.

                          As a result of the foregoing, Plaintiff demands judgment against Defendants in a

          sum of money to be determined at trial.

                  638.    As a result of Defendants’ impermissible conduct, Plaintiff was injured and

          harmed. Accordingly, Plaintiff demands judgment against Defendants in a sum of money which

          exceeds the jurisdictional limits of all courts of lesser jurisdiction.




                                                            - 100 -


                                                         100 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 1     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 101 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                                              101 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 1     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 102 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                                              102 of 102
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 2     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 103 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 2     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 104 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 2     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 105 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 2     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 106 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                                                                b

                                                    1
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 3     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 107 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 3     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 108 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 3     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 109 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 3     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 110 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 4     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 111 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 4     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 112 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 5     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 113 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                 INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 5      6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 114 of 131
                                                                        RECEIVED  NYSCEF: 05/16/2018




                                                                   ~                                 I   ~
                                                               I           I g   I         g
                                                                                 ~4



                                                  ~l
            t'

                 (f

                  %(I

                                        'I,
                                                       ~   ~~

                                   '~
                        It h
                         ~ it

           5'-g%'
                            i.'.

                                                                                 e,'   1
                                                                   ~                       ~             ~
                                                           I           I                         I




                                              1
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 6     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 115 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 6     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 116 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                    INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 6         6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 117 of 131
                                                                           RECEIVED  NYSCEF: 05/16/2018




                                       •
                                                           e     .




                      'I




                  i




          I
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                      INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 6       6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 118 of 131
                                                                         RECEIVED  NYSCEF: 05/16/2018



                               W




                     9



                                                                            l
                                                                                I

                 r




             4



                                                                     I
                                                        4




                                                                ~
                                                                                ~
                                                                                    W
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                   INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 6     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 119 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018




                       r>                               09   04-2015   11   44   39   PM




              L                         I
                  M
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 7     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 120 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 7     6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 121 of 131
                                                                       RECEIVED  NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                               INDEX NO. E2018003491
NYSCEF DOC. NO. Case
                 7                 6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 122 of 131
                                                                                   RECEIVED  NYSCEF: 05/16/2018




                                           -                    .          09204-2015       11   : 44   55   PM
                          I        g   .       rI r
            i              ~

                i~             '           "-.,„'
                                                                    ~'r~
                                                      .Q
                                                           p'
                     Pl                                                       «P~-

                                                                                        (




                                                                                                        4
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. 8    Case 6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 123 of 131   RECEIVED NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                              INDEX NO. E2018003491
NYSCEF DOC. NO. 8           Case 6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 124 of 131   RECEIVED NYSCEF: 05/16/2018




                                                                       I'                                       I/I
                                                                             I~
                                                                                     I           40
              I
              I
                        1

                                       'o

          I
                    A
                                                                                                           ~g
                                                                                                       o




                                                                                         fk       'I
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                   INDEX NO. E2018003491
NYSCEF DOC. NO. 8    Case 6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 125 of 131    RECEIVED NYSCEF: 05/16/2018




                                                                                          29



                 I
             I

         1
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. 8    Case 6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 126 of 131   RECEIVED NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. 8    Case 6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 127 of 131   RECEIVED NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. 8    Case 6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 128 of 131   RECEIVED NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                                       INDEX NO. E2018003491
NYSCEF DOC. NO. 8         Case 6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 129 of 131             RECEIVED NYSCEF: 05/16/2018




                                                                        g~
                                                                  pe              I                 40        32
            I


                L.                                                                             I~


                     I'
                                                                                                         ®e
                                                                             Cs        c

                                                                                                              l /(


                                              'la



                                                                                  e,       ~




                                             V~
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. 8    Case 6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 130 of 131   RECEIVED NYSCEF: 05/16/2018
FILED: MONROE COUNTY CLERK 05/16/2018 10:45 PM                                                  INDEX NO. E2018003491
NYSCEF DOC. NO. 8    Case 6:18-cv-06464-MAT Document 1-3 Filed 06/20/18 Page 131 of 131   RECEIVED NYSCEF: 05/16/2018
